                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

TURNKEY OFFSHORE PROJECT            *               Civ. No. 2:21-cv-672 DPC
SERVICES, LLC                       *
                                    *               MAG. JUDGE: Donna Phillips Currault
VERSUS                              *
                                    *
BRENT BOUDREAUX,                    *
JAB ENERGY SOLUTIONS, LLC,          *
JAB ENERGY SOLUTIONS II, LLC, & *
ALLISON MARINE HOLDINGS, LLC *
*************************************

                    DEFENDANT JAB ENERGY SOLUTIONS II, LLC’S MOTION
                          TO MODIFY PRELIMINARY INJUNCTION

        Defendant JAB Energy Solutions II, LLC (“JAB II”) hereby moves (the “Motion”) this

Court to modify the preliminary injunction (the “Injunction”) entered by this Court on August

10, 2021 pursuant to that certain Order and Reasons [Docket Do. 36] (the “PI Order”) in light of

a recent ruling in JAB II’s bankruptcy case (the “Bankruptcy Case”) pending in the United States

Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”). In support of this

Motion, JAB II relies upon the Memorandum of Law being filed simultaneously herewith. For

the reasons set forth in the Memorandum of Law, JAB II respectfully requests that the Injunction

and PI Order be modified to allow JAB II to deposit the funds collected under the Settlement

Order in escrow pending a further determination by the Bankruptcy Court regarding the proper

ownership of the funds.




DOCS_DE:238528.6 42899/001
Dated: March 17, 2022        MILES THOMAS LAW, LLC

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                             Counsel to JAB Energy Solutions II, LLC




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TURNKEY OFFSHORE PROJECT            *                Civ. No. 2:21-cv-672 DPC
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ALLISON MARINE HOLDINGS, LLC *
*************************************

                          MEMORANDUM OF LAW IN SUPPORT OF
                    DEFENDANT JAB ENERGY SOLUTIONS II, LLC’S MOTION
                          TO MODIFY PRELIMINARY INJUNCTION

        Defendant JAB Energy Solutions II, LLC (“JAB II”) submits this Memorandum of Law

in support of its motion (the “Motion”) to modify the preliminary injunction (the “Injunction”)

entered by this Court on August 10, 2021 pursuant to that certain Order and Reasons [Docket

Do. 36] (the “PI Order”) in light of a recent ruling in JAB II’s bankruptcy case (the “Bankruptcy

Case”) pending in the United States Bankruptcy Court for the District of Delaware (the

“Bankruptcy Court”). In support of the Motion, JAB II respectfully states as follows:

                                 Facts Relevant to this Motion

        The PI Order was entered prior to trial and a ruling on the substance of the complaint

filed in this action by Plaintiff Turnkey Offshore Project Services, LLC (“TOPS”). The PI Order

enjoins JAB II from “dissipating or transferring any such [Black Elk] funds received incident to

the High Island Funding Term Sheet, as allocated for the HI A370 work in connection with the

Black Elk bankruptcy proceedings … .” PI Order at p. 33. Subsequent to entry of the PI Order,

JAB II commenced the Bankruptcy Case. JAB II’s assets are now subject to the jurisdiction of




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the Bankruptcy Court. JAB II’s and TOPS’ asserted rights to the funds related to the High Island

Funding Term Sheet will be determined in an adversary proceeding before the Bankruptcy Court.

           TOPS has appeared through its counsel numerous times in the Bankruptcy Court and has

timely filed a proof of claim against JAB II (the “TOPS Claim”) in the Bankruptcy Case, thereby

submitting itself to the jurisdiction of the Bankruptcy Court. The TOPS Claim asserts the same

claims against JAB II as are alleged in this case.

           JAB II recently sought and obtained Bankruptcy Court approval of a settlement

agreement relating to the High Island Funding Term Sheet. Although TOPS opposed JAB II’s

request for approval of the settlement and asserts a claim to the proceeds of the settlement, the

Bankruptcy Court determined the settlement was reasonable and in the best interests of the JAB

II bankruptcy estate and its creditors and entered an order approving the settlement on March 3,

2022 (the “Settlement Order”). A true and correct copy of the Settlement Order is attached

hereto as Exhibit A.

           The Settlement Order authorizes JAB II to enter into and effectuate the settlement.

However, the Settlement Order expressly prohibits JAB II from making any payments or

distributions of the amounts to be received in escrow under the settlement agreement pending

further order of the Bankruptcy Court (other than paying a $700,000 Reefing Fee to the Texas

Parks & Wildlife Department (“TPW”) that is a required condition of the settlement). As a result

of the entry of the Settlement Order, JAB II will be able to collect all amounts that it is owed in

connection with the High Island Funding Term Sheet, a net amount of approximately $4.9

million after payment of the Reefing Fee. The proceeds will be held in escrow pending the

Bankruptcy Court’s determination of the competing interests asserted in those funds.1



1
    In addition to TOPS, JAB II’s secured lenders assert that they have senior secured, first priority liens in the funds.

                                                              2
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        The Settlement Order also refers to this Court’s Injunction by expressly stating that “…

nothing herein purports to alter or shall otherwise affect the Preliminary Objection.” At the

hearing during which the Bankruptcy Court announced its ruling on (i) JAB II’s request for

approval of the settlement (which TOPS contested), and (ii) TOPS’ motion to modify the

automatic stay to allow it to proceed with this litigation (which JAB II opposed), the Bankruptcy

Court suggested, after noting that he had spoken with this Court, that JAB II file a motion with

this Court to modify the Injunction to “cleanup” what are essentially dual injunctions. A true

and correct copy of the transcript of the Bankruptcy Court hearing on February 25, 2022

(“Bankr. Hrg. Tr.”) is attached hereto as Exhibit B. The Bankruptcy Court said that the parties

“might consider filing a motion in front of Judge Currault … asking that she modify her

injunction to comport with this order …” Bankr. Hrg. Tr. at p. 11. By this Motion, JAB II is

following the Bankruptcy Court’s suggestion.

        JAB II’s intent in filing this Motion is to ensure it can collect the funds relating to the

High Island Funding Term Sheet in an efficient and cost-effective way and place those funds

(after payment of a necessary $700,00 Reefing Fee to TPW) into escrow pending further order of

the Bankruptcy Court. JAB II requested that TOPS agree to stipulate to the relief requested in

this Motion but did not receive a response.

                                          Relief Requested

        JAB II respectfully requests that the Injunction and PI Order be modified to allow JAB II

to deposit the funds collected under the Settlement Order in escrow pending a further

determination by the Bankruptcy Court regarding the proper ownership of the funds. This Court

has broad discretion to enforce its preliminary injunction, including the power to modify the

injunction to achieve its purpose. See Brown v. Plata, 563 U.S. 493, 542–43 (2011) (“The power



                                                   3
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of a court of equity to modify a decree of injunctive relief is long-established, broad, and

flexible.”) (quoting New York State Assn. for Retarded Children, Inc. v. Carey, 706 F.2d 956,

967 (2d Cir. 1983)); Fid. Nat'l Title Ins. Co. v. Intercounty Nat'l Title Ins. Co., 412 F.3d 745, 752

(7th Cir.2005) (“[A] judge's power includes not only what he is expressly empowered to do but

also such ancillary powers as are necessary and proper to his exercise of the explicitly conferred

ones.”) Notably, the standard for modifying a preliminary injunction is particularly flexible: the

Court may “revise a preliminary remedy” so long as it is “persuaded that [the] change ha[s]

benefits for the parties and the public interest.” Commodity Futures Trading Comm'n v. Battoo,

790 F.3d 748, 750 (7th Cir. 2015).

         In essence, the Settlement Order serves the same purpose as the Injunction and PI Order

and provides TOPS with the same level of protection. JAB II is enjoined by the Settlement

Order from taking essentially the same action that the Injunction prohibits. Moreover, the

Settlement Order actually enhances TOPS’ position given that JAB II will collect the funds in

which TOPS asserts a superior interest without the need for potentially costly and lengthy

litigation against the third party payors.

         As the Bankruptcy Court stated, “the [money] will sit there pending resolution of the

merits of the ownership dispute.” The Bankruptcy Court also ruled (again following

conversation with this Court) that it is appropriate to have the question of ownership of the funds

“… resolved in an appropriate proceeding here [i.e., the Bankruptcy Court].” Bankr. Hrg. Tr. at

p. 14. In contrast to this proceeding, all of the parties that have asserted an ownership or security

interest in the funds are before the Bankruptcy Court.2 JAB II intends to proceed promptly with

an appropriate proceeding in the Bankruptcy Court to determine the ultimate issue of the


2
  JAB II’s secured lenders are not parties to this proceeding but have appeared and submitted to the jurisdiction of
the Bankruptcy Court.

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ownership of the funds. Simply put, the Injunction is no longer necessary to protect TOPS’

interests.

        For all the reasons stated above, JAB II respectfully requests that this Court modify the PI

Order and the Injunction so that JAB II may hold the funds collected relating to the High Island

Funding Term Sheet pending the Bankruptcy Court’s determination of who owns those funds.



Dated: March 17, 2022                         MILES THOMAS LAW, LLC

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                                              Counsel to JAB Energy Solutions II, LLC




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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

                                                 Chapter 11
    In re:
                                                 Case No. 21-11226 (CTG)
    JAB Energy Solutions, II, LLC,1
                                                 Jointly Administered
             Debtor.
                                                 Related Docket No. 149


       ORDER APPROVING DEBTOR’S SETTLEMENT AGREEMENT
     REGARDING DECOMMISSIONING OF HIGH ISLAND A370 PROJECT

             Upon consideration of the Debtor’s Motion for Approval of Settlement

Agreement Regarding Decommissioning of High Island A370 Project [Docket No. 149]

(the “Motion”);2 and the Court finding that: (a) the Court has jurisdiction over this

matter pursuant to 28 U.S.C. § 1334; (b) this is a core proceeding pursuant to 28

U.S.C. § 157(b)(2); (c) notice of the Motion and the hearing was sufficient and proper;

and (d) the legal and factual bases set forth in the Motion establish just cause for the

relief granted herein;

             IT IS HEREBY ORDERED THAT:

             1.   The Motion is GRANTED as set forth herein.

             2.   Pursuant to Bankruptcy Rule 9019, the Settlement Agreement is

approved in its entirety.3




1The last four digits of the Debtor’s U.S. tax identification number are 3625. The Debtor’s
mailing address is 19221 I-45 South, Suite 324, Shenandoah, TX 77385.
2A capitalized term used but not defined herein shall have the meaning ascribed to it in the
Motion.
3   A true and correct copy of the Settlement Agreement is attached hereto as Exhibit 1.



                                                                                   Exhibit A
              Case 21-11226-CTG    Doc 193    Filed 03/03/22   Page 2 of 2




      3.      The Debtor is hereby authorized to take any and all actions necessary

to effectuate the terms of this Order and the Settlement Agreement, including the

payment of the Reefing Fee by the Escrow Agent (the “TPW Payment”); provided,

however, that the Escrow Agent shall not make any payments or distributions other

than the TPW Payment subject to further order of the Court.

      4.      For the avoidance of doubt and notwithstanding any other provision of

this Order, nothing herein shall prejudice or affect the right of the Debtor, Turnkey

Offshore Project Services, LLC, Offshore Technical Solutions, LLC, the DIP Lender,

or any other party in interest regarding any dispute related to or in connection with

the Net Remaining Funds.

      5.      For the avoidance of doubt and notwithstanding any other provision of

this Order, nothing herein purports to alter or shall otherwise affect the Preliminary

Injunction.

      6.      This Court shall retain jurisdiction with respect to all matters arising

from or related to the implementation or interpretation of this Order and the

Settlement Agreement.




Dated: March 3, 2022
                                         CRAIG T. GOLDBLATT
                                         UNITED STATES BANKRUPTCY JUDGE




                                          2

                                                                             Exhibit A
                      Exhibit 1
                   Settlement Agreement




DOCS_DE:237886.4
                                          Exhibit A
                     HIGH ISLAND A370 COMPREHENSIVE
                 DECOMMISSIONING RESOLUTION TERM SHEET


 Parties:                          Richard Schmidt (the “Trustee”), in his capacity as
                                    Trustee of the Black Elk Liquidation Trust and the
                                    Black Elk Litigation Trust (collectively, the “Trust”)
                                   W&T Offshore, Inc. (“W&T”)
                                   Burlington Resources Offshore, Inc. (“Burlington”)
                                   Talos Energy Inc. (“Talos”)
                                   JAB Energy Solutions II LLC (“JAB”)
                                   Argonaut Insurance Company (“Argo”)
                                   United States Bureau of Safety and Environmental
                                    Enforcement (“BSEE”)
                                   Texas Parks and Wildlife Department (“TPW”)

 Reference OCS Lease:        High Island A370, OCS G-02434 (the “Lease”)

 Additional Defined Terms:   “Approval Order” means an order, in form and substance
                             consistent with all of the terms of this Term Sheet
                             Agreement and otherwise reasonably acceptable to each
                             Party hereto, entered by the Delaware Bankruptcy Court in
                             the JAB Chapter 11 approving JAB’s entry into and
                             consummation this Term Sheet Agreement.

                             “Argo Bond” means Argonaut Bond No. SUR0019139.

                             “Black Elk Chapter 11” means the chapter 11 case for Black
                             Elk Energy Offshore Operations, LLC, Case No. 15-34287
                             in the Houston Bankruptcy Court.

                             “Bond Cancellation Notice” means a writing in form and
                             substance reasonably acceptable to Argo to be delivered by
                             W&T that confirms the full release and cancellation of the
                             Argo Bond and that is substantially similar to the form of
                             bond release letter attached hereto as Exhibit F.

                             “BSEE Firm Commitment” means a writing by BSEE that
                             states a firm and irrevocable commitment of BSEE to, on or
                             within three business days following TPW’s delivery of the
                             TPW Confirmation to the Escrow Agent, (i) approve the
                             pending Site Clearance report submitted by JAB, and (ii)
                             make all necessary online entries to the BSEE/BOEM
                             database           (being        the        data          at
                             https://www.data.boem.gov/leasing/leaseliability/default.as
                             px) for the Lease to reflect the satisfaction of all


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                                                                                Exhibit A
                 decommissioning activities for the lease and a cost estimate
                 reduction consistent with the completion of 100% of the
                 well abandonment (T&A) scope of work as provided in the
                 JAB MSA.

                 “BSEE Performance” means the completion of BSEE’s
                 performance of its actions required under the BSEE Firm
                 Commitment.

                 “Closing Date” means the day that is the first business day
                 following the expiration of fifteen (15) days after entry of
                 the Approval Order on the court docket in the JAB Chapter
                 11, provided that no stay of the Approval Order is in effect
                 on such date.

                 “Delaware Bankruptcy Court” means the United States
                 Bankruptcy Court for the District of Delaware.

                 “Escrow Release Date” means the first business day upon
                 which all Party payment, delivery and other obligations as
                 provided herein (and as set forth at Escrow steps 1-5, below)
                 have been satisfied.

                 “Escrow Agent” means ___________.

                 “Escrow Agreement” means a customary escrow agreement
                 to be entered into by and among the Parties hereto and the
                 Escrow Agent that shall set forth the various receipts,
                 deliveries and releases stated herein so as to accomplish the
                 purpose of this Term Sheet Agreement, which Escrow
                 Agreement shall be substantially in the form as attached
                 hereto as Exhibit “D”.

                 “Execution Date” means the last Party signature date as
                 reflected on the signature pages to this Term Sheet
                 Agreement.

                 “Funding Agreement” means that certain High Island A370
                 Funding Term Sheet between Trustee, W&T, Burlington,
                 Talos, DOI, JAB, and Argo, a true and correct copy of which
                 is attached hereto as Exhibit “A”.

                 “Houston Bankruptcy Court” means the United States
                 Bankruptcy Court for the Southern District of Texas,
                 Houston Division.



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                                                                    Exhibit A
                              “JAB Chapter 11” means the chapter 11 case currently
                              pending for JAB, Case No. 21-11226 in the Delaware
                              Bankruptcy Court.

                              “JAB MSA” means that certain Master Services Agreement
                              for Decommissioning Services, dated as of April 26, 2013,
                              between JAB and Black Elk Energy LLC, and subsequently
                              subject to, and amended by, that certain Acknowledgement
                              of Assignment of Master Services Agreement between the
                              Trustee and JAB, a true and correct copy of which is
                              attached hereto as Exhibit “B”.

                              “Net Remaining Funds” means the net cash balance
                              remaining of the funding obligation delivery amounts as set
                              forth in this Term Sheet Agreement held by the Escrow
                              Agent, after payment of the Reefing Fee and the reasonable
                              fee of the Escrow Agent as set forth in the Escrow
                              Agreement.

                              “Reefing Agreement” means that certain Material Donation
                              Agreement for Partially Removed Petroleum Structures,
                              between Black Elk and TPW and relating to the Lease site.

                              “Reefing Fee” means the remaining net payment due to
                              TPW under the Reefing Agreement in the amount of
                              $878,243.00 or such lesser amount as agreed to as between
                              TPW and JAB.

                              “Site Clearance” means and refers to the activities set forth
                              at 30 C.F.R. §§ 250.1740-250.1743 and resulting
                              verification that a site is clear of obstructions.

                              “Term Sheet Agreement” means this High Island A370
                              Comprehensive Decommissioning Resolution Term Sheet.

                              “TPW Confirmation” means a written confirmation by TPW
                              directed to BSEE in a form reasonably acceptable to BSEE,
                              Trustee, and JAB that the Reefing Fee has been received and
                              that neither Black Elk nor the Trustee have any further
                              performance or obligations owing under the Reefing
                              Agreement.

 Purpose of this Term Sheet   The Parties have entered into this Term Sheet Agreement
 Agreement:                   for this purpose of finalizing the decommissioning and other
                              activities required as to the Lease site in accordance with the
                              JAB MSA, including the platform work and site clearance,


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                                                                                   Exhibit A
                         so as to (1) obtain Site Clearance, (2) fully resolve and
                         satisfy with TPW the Reefing Fee obligation, (3) cause the
                         release/cancellation of the Argo Bond, (4) remit Net
                         Remaining Funds to JAB pursuant to the JAB MSA, and (5)
                         confirm the satisfaction and performance of all claims and
                         obligations of each Party and the release of each Party from
                         any further obligations relating to or associated with the
                         Lease, including obligations under the Funding Agreement,
                         the Reefing Agreement, the Argo Bond, and the JAB MSA.

                         This Term Sheet Agreement is intended to facilitate the
                         consummation of the Funding Agreement and, unless
                         expressly stated herein, shall not be interpreted to effect an
                         amendment of the Funding Agreement; provided that, upon
                         consummation of this Term Sheet Agreement, this
                         Term Sheet Agreement shall, only to the extent
                         inconsistent with the Funding Agreement, supersede the
                         Funding Agreement and the Parties’ obligations
                         thereunder.
 Parties’ Obligations:   Trustee:
                              The Trustee shall (1) coordinate the gathering of
                                each Party’s signature to this Term Sheet Agreement
                                and deliver email notice to each Party (or its counsel)
                                upon the occurrence of the Execution Date, and (2)
                                deliver email notice to each Party (or its counsel) of
                                the occurrence of the Closing Date.
                              The Trustee shall deliver $445,000 to the Escrow
                                Agent in full and final satisfaction of the Trust’s
                                funding obligation under the Funding Agreement
                                within 7 days following satisfaction of BSEE
                                Performance.

                         W&T:
                            W&T shall deliver $2,771,666 to the Escrow Agent
                              in full and final satisfaction of its funding obligation
                              under the Funding Agreement within 7 days
                              following satisfaction of BSEE Performance.
                            W&T shall deliver the Bond Cancellation Notice to
                              the Escrow Agent within 7 days of the Closing Date.

                         Burlington:
                             Burlington has fully performed its obligations under
                                the Funding Agreement and has no further
                                obligations.




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                                                                             Exhibit A
                 Talos:
                     Talos shall deliver $1,196,874 to the Escrow Agent
                        in full and final satisfaction of its funding obligation
                        under the Funding Agreement within 7 days
                        following satisfaction of BSEE Performance.

                 JAB:
                     JAB shall seek and obtain entry of the Approval
                      Order from the Delaware Bankruptcy Court in the
                      JAB Chapter 11 by filing an appropriate approval
                      motion as soon as reasonably practicable following
                      the Execution Date.
                     Subject to entry of the Approval Order by the
                      Delaware Bankruptcy Court, JAB shall:
                      o Immediately provide any consents or
                          acknowledgements reasonably required or
                          requested by any other Party to this Term Sheet
                          Agreement to consummate the purpose of this
                          Term Sheet Agreement.
                      o Coordinate with the Trustee and the Escrow
                          Agent in declaring the occurrence of the Escrow
                          Release Date.

                 Argo:
                     Argo shall deliver $1,262,872 to the Escrow Agent
                       in the manner set forth in the Funding Agreement in
                       full and final satisfaction of its funding obligation
                       under the Funding Agreement within 7 days of the
                       Closing Date.

                 TPW:
                    TPW shall deliver to the Escrow Agent the TPW
                      Confirmation within 7 days of the Closing Date.

                 BSEE:
                    BSEE shall deliver to the Escrow Agent the BSEE
                       Firm Commitment within 7 days of the Closing
                       Date.
                    Within three business days of receipt of the Escrow
                       Agent’s notice delivered per Escrow Step (5) below,
                       BSEE shall accomplish BSEE Performance and
                       deliver to the Escrow Agent notice of completion of
                       BSEE Performance.

 Escrow Steps:   The Escrow Agent shall be provided irrevocable

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                                                                      Exhibit A
                                          instructions in the Escrow Agreement to perform the
                                          following duties, deliveries and/or releases in the order set
                                          forth below: 1

                                          (1) Receive and accept into escrow, and simultaneously
                                          provide notice of each such receipt and acceptance to each
                                          Party, (a) the TPW Confirmation, (b) the BSEE Firm
                                          Commitment, (c) the Bond Cancellation Notice, and (d)
                                          $1,262,872 from Argo in accordance with Argo’s funding
                                          commitment.
                                          (2) Upon receipt of the items set forth in (1)(a) – (d) above,
                                          the Escrow Agent shall:
                                          (a) Deliver the Reefing Fee to TPW in accordance with the
                                          payment instructions set forth in Exhibit “C-1”, hereto.
                                          (b) Release and deliver the TPW Confirmation to BSEE per
                                          the delivery instructions set forth in Exhibit “C-2”, hereto.
                                          (c) Release and deliver the BSEE Firm Commitment to all
                                          Parties per the delivery instructions set forth in Exhibit “C-
                                          2”, hereto.
                                          (d) Release and deliver the Bond Cancellation Notice to
                                          Argo per the delivery instructions set forth in Exhibit “C-2”,
                                          hereto.
                                          (e) Deliver notice to all Parties confirming the
                                          consummation of steps (a) through (d), above.
                                          Steps 2(a)-2(d) shall occur simultaneously; provided
                                          however, that it is expressly understood that the reefing fee
                                          to TPW cannot be paid without the Bond Cancellation
                                          Notice being provided to Argo.
                                          (3) Receive and accept into escrow, and simultaneously
                                          provide notice of each such receipt and acceptance to each
                                          Party, the funds delivered to escrow as provided in this Term
                                          Sheet Agreement by the Trustee, Talos, and W&T.
                                          (4) Immediately upon the receipt of all payment obligations
                                          in step 3, declare the Escrow Release Date, and deliver the
                                          Net Remaining Funds to JAB in accordance with the
                                          payment instructions set forth in Exhibit “C-3”, hereto.
                                          (5) Deliver notice to all Parties (a) confirming the
                                          consummation of steps (1) through (4) above, and (b)
                                          terminating the escrow relationship.

    Discharges and Releases:              The Approval Order shall specifically provide for the
                                          following discharges and releases upon the occurrence of
                                          the Escrow Release Date and the consummation of this
                                          Term Sheet Agreement: (1) the release and discharge as

1
  Except for the receipts and acceptances in step 3, which may occur at any time, each prior step shall be fully
completed before the next step action occurs.

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                                                                                                    Exhibit A
                                   among the Trustee and JAB of any further obligations or
                                   liabilities owing under the JAB MSA, provided, however,
                                   such releases and discharges shall expressly exclude Claim
                                   No. 203 filed by JAB in the Black Elk Chapter 11, as may
                                   be amended, supplemented, or modified (or same opposed
                                   by the Trustee), (2) the release and discharge as among the
                                   Trustee and TPW of any further obligations or liabilities
                                   owing under the Reefing Agreement, (3) the termination and
                                   cancellation of the Argo Bond, and (4) the release and
                                   discharge of any claims against any party to the Funding
                                   Agreement arising from or in any way connected with the
                                   Lease, including the funding obligations set forth in the
                                   Funding Agreement.

                                   BSEE further confirms that consummation of this Term
                                   Sheet Agreement shall result in the reduction of any
                                   “Regulatory Agency Claim” in the Black Elk Chapter 11 to
                                   $0.

 Conditions Precedent to Closing   The Closing Date shall not occur until the day that is the first
 Date:                             business day following the expiration of fifteen (15) days
                                   following entry of the Approval Order by the Delaware
                                   Bankruptcy Court, and further provided that no stay of the
                                   Approval Order exists on such day.

 Conditions Precedent to, and      The Escrow Release Date shall not occur until each of the
 Occurrence of, Escrow Release     following has occurred or such status exists: (1) the Closing
 Date:                             Date has occurred; (2) each Party has unconditionally and
                                   irrevocably satisfied its pre-Escrow Release Date
                                   obligations as set forth in this Term Sheet Agreement; and
                                   (3) there exists no stay of the Approval Order issued by a
                                   court of competent jurisdiction.

 Termination of this Term Sheet    In the event that the Escrow Release Date does not occur
 Agreement:                        within thirty (30) days following the Closing Date, or such
                                   other date as agreed to by the Parties, then any Party may
                                   terminate this Term Sheet Agreement by delivering email
                                   notice to the Escrow Agent and to each other Party (or
                                   counsel) declaring the termination of the Term Sheet
                                   Agreement for failure of timely-occurrence of the Escrow
                                   Release Date.

                                   Upon termination of the Escrow Agreement by one of the
                                   Parties, the Escrow Agreement shall obligate the Escrow
                                   Agent to return to each Party its deliverable under this Term
                                   Sheet Agreement (provided that a Party had previously met


                                               7
4846-5199-1292
                                                                                         Exhibit A
                             such deliverable obligation) as soon as practicable following
                             receipt of a termination notice delivered by a Party.

 Further Assurances:         Each Party agrees to perform such other actions that are
                             reasonably necessary to achieve the consummation, and
                             fulfill the purpose, of this Term Sheet Agreement.

 Reservation of Rights:      In the event that this Term Sheet Agreement is terminated
                             as provided above, then each Party reserves all rights
                             regarding any matter addressed herein.




         [REMAINDER OF PAGE BLANK – SIGNATURES BEGIN ON NEXT PAGE]




                                        8
4846-5199-1292
                                                                                Exhibit A
AGREED:


 BY: Black Elk Trustee                         BY: W&T Offshore, Inc.

 By:                                           By:
 Name:                                         Name:
 Title:                                        Title:

 Dated:                                        Dated:




 BY: Burlington Resources Offshore, Inc.       BY: Talos Energy, Inc.

 By:                                           By:
 Name:                                         Name:
 Title:                                        Title:

 Dated:                                        Dated:




 BY: Argonaut Insurance Company                BY: United States Bureau of Safety and
                                               Environmental Enforcement

 By:                                           By:
 Name:                                         Name:
 Title:                                        Title:

 Dated:                                        Dated:




                                           9
4846-5199-1292
                                                                             Exhibit A
 BY: JAB Energy Solutions II LLC    BY: Texas Parks and Wildlife Department


 By:                                By:
 Name:                              Name:
 Title:                             Title:

 Dated:                             Dated:




                                   10
4846-5199-1292
                                                                    Exhibit A
                            EXHIBIT A


                 High Island A370 Funding Term Sheet




4846-5199-1292
                                                       Exhibit A
                          High Island A370 Funding Term Sheet

 Parties:                                   Richard Schmidt, Black Elk trustee
                                            (“Trustee”)
                                            W&T Offshore, Inc. (“W&T”)
                                            Burlington Resources Offshore, Inc.
                                            (“Burlington”)
                                            Talos Energy Inc. (“Talos”)
                                            The United States Department of Interior
                                            (“DOI”)
                                            JAB Energy Solutions II LLC (“JAB”)
                                            Argonaut Insurance Company (“Argo”)

 OCS Lease:                                 High Island A370, OCS G-02434 (the
                                            “Lease”)

 Current JAB Funding Requirements:          Under the Acknowledgment of Assignment of
                                            Master Services Agreement and Work Order
                                            dated June 9, 2017, between Trustee and JAB
                                            (the “JAB Contract”), JAB has previously
                                            completed the well work associated with the
                                            Lease and platform work and site clearance
                                            remains.

                                            For the completed well work JAB has
                                            received payments totaling $3,221,295 and is
                                            owed $628,705.

                                            The Parties acknowledge the following
                                            funding structure under the JAB Contract:

                                            Well Work
                                              x $243,705 attributable to Talos’
                                                  working interest share
                                              x $385,000 attributable to Fairways
                                                  Offshore Exploration, Inc.’s
                                                  (“Fairways”) working interest share

                                            Platform Work: $5,716,412
                                                x By Argonaut from HI A370 bond
                                                   reduction and additional funds:
                                                   $1,262,872
                                                x By W&T through non-operated
                                                   escrow: $2,771,666



83650259v.1
                                                                                Exhibit A
                                                             x    By Talos: $1,096,874
                                                             x    By Fairways: $585,000


    Adjusted JAB Contract Funding Sources:               Subject to the Payment Conditions set forth
                                                         below, funding requirements for the JAB
                                                         Contract and the sources of payment to JAB
                                                         shall be adjusted under this Term Sheet as
                                                         follows:

                                                         Well Work
                                                           x W&T shall pay JAB $243,705 upon
                                                               execution of this Term Sheet, for the
                                                               Well Work previously performed by
                                                               JAB, through its non-operated escrow.
                                                           x Upon receipt of a demand from Black
                                                               Elk Trustee1, Burlington shall use
                                                               reasonable commercial efforts to call
                                                               the Fairways private supplemental
                                                               bond and make demand upon the
                                                               surety to release the bond proceeds in
                                                               the amount of $385,000 to JAB for
                                                               Fairways’ share of the completed Well
                                                               Work. If the bond proceeds are
                                                               received by Burlington, Burlington
                                                               shall remit the proceeds to JAB within
                                                               the later of: (a) ten business days of
                                                               receipt of the bond proceeds or (b)
                                                               three business days from confirmation
                                                               of mobilization by JAB on location at
                                                               the HI A370 platform for platform
                                                               removal.


                                                         Platform Work
                                                             x W&T agrees to pay JAB $2,771,666
                                                                for the Platform Work through its non-
                                                                operated escrow.
                                                             x Talos agrees to pay JAB $1,096,874
                                                                for the Platform Work.
                                                             x Argo remains committed to its
                                                                funding amounts subject to surety
                                                                bond release and cancellation. Upon

1
 The Trustee shall issue the demand to Burlington immediately upon execution of this Term Sheet, if such demand
has not already been served on Burlington prior to execution of this Term Sheet.


83650259v.1
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                                                  receipt of documentation acceptable to
                                                  Argo confirming the full release and
                                                  cancellation of Bond No.
                                                  SUR0019139, Arg         will releas
                                                                   Argoo will  releasee
                                                  collateral in tthe
                                                                  he total amo
                                                                           amount
                                                                               unt of
                                                  $1,262,872 to JAB for the Platform
                                                  Work, which payment shall satisfy the
                                                  payment obligations of the Black Elk
                                                  Liquidation Trust.
                                              x   The Fairways’ share of the Platform
                                                  Work in the total amount of $585,000
                                                  shall be funded from the following
                                                  sources and paid to JAB upon
                                                  completion of the Platform Work and
                                                  site clearance:
                                                      o $100,000 from Talos;
                                                      o $40,000 discount from JAB;
                                                      o $445,000 by the Black Elk
                                                          Trustee from the Black Elk
                                                          Litigation Trust, subject to
                                                          release of the DOI Reserve
                                                          Claim.

 Additional Terms and Payment Conditions   Timeliness:
                                                  In accordance with article 2.6 of the
                                                  JAB Contract, JAB shall use
                                                  commercially reasonable efforts to
                                                  commence the Platform Work within
                                                  14 days from the execution of this
                                                  Term Sheet (the “Commencement
                                                  Date”) and shall diligently prosecute
                                                  its obligations under the terms of the
                                                  JAB Contract and use commercially
                                                  reasonable efforts to complete the
                                                  Platform Work and obtain site
                                                  clearance by October 31, 2020.

                                           Time is of the Essence:
                                              x Time is of the Essence and JAB’s
                                                  willingness and ability to timely
                                                  perform the Platform Work is a
                                                  material inducement to the entry of
                                                  this Term Sheet.
                                              x To the extent that the JAB Contract is
                                                  terminated after the Commencement
                                                  Date, then JAB’s right to payment for


83650259v.1
                                                                                Exhibit A
                                          any Platform Work under the terms of
                                          the JAB Contract (if any such right
                                          exists) will be expressly subordinate
                                          to the Parties’ costs to complete the
                                          Platform Work in substitution of
                                          article 20.2 of the JAB Contract.


 Further Assurances:              The Trustee, W&T, Burlington, and Talos
                                  agree that, to the extent that the JAB Contract
                                  is terminated, any amounts agreed to under
                                  this Term Sheet for the Platform Work, but
                                  not already paid, shall be made available to
                                  satisfy the expense of completing the
                                  Platform Work. Trustee, W&T, Burlington,
                                  and Talos each must consent to any
                                  termination of the JAB Contract and selection
                                  of any successor contractor and successor
                                  contract to complete the Platform Work
                                  should the JAB Contract be terminated.


 DOI Resolution:                  In consideration for the funding commitments
                                  set out in this Term Sheet and subject to
                                  Bankruptcy Court approval, DOI agrees as
                                  follows:
                                      x DOI confirms, as already agreed to
                                           and entered by the court in the Order
                                           Confirming the Third Amended Plan
                                           of Liquidation, that upon confirmation
                                           of site clearance of the Lease, DOI OI''s
                                           Reserve Cla
                                                     Claim
                                                        im in the Bl
                                                                   Black Elk
                                           bankruptc
                                           bankruptcyy ccaase in the
                                                                 the aam
                                                                       mount ooff
                                           $1,195,000 shall be reduced to $0.
                                       x BSEE agrees to stay any and all
                                          enforcement actions related to the
                                          Lease for 90 days, unless there is a
                                          threat to health, safety, or the
                                          environment.
                                      x BSEE further agrees to a 90 day stay
                                          of any pending appeals related to the
                                          Lease before the Interior Board of
                                          Land Appeals.

 Settlement and Mutual Release:   All claims and causes of action, including any
                                  claims for indemnification, contribution, or


83650259v.1
                                                                          Exhibit A
                          subrogation, between and among Talos,
                          Burlington, and W&T related to the JAB
                          Contract, the HI A370 Operating Agreement,
                          and this Term Sheet shall be released upon
                          confirmation of site clearance by BSEE and
                          payment by each party of the obligations set
                          forth in this Term Sheet.

                          Each party’s payment obligations shall be
                          limited to the payment terms set out in this
                          term sheet. Upon payment in full of each
                          payment obligation set forth in this Term
                          Sheet, JAB shall release each paying party
                          from any and all claims and causes of action
                          related to the JAB Contract and work
                          associated with HI A370.

                          Nothing herein shall constitute a release of the
                          obligations arising under this Term Sheet.

 Reservation of Rights:   The Parties reserve all rights, claims, and
                          causes of action, including claims related to
                          indemnity and subrogation, and claims under
                          the Joint Operating Agreement for High
                          Island A370 against Fairways.

                          Except for the stays agreed to herein by DOI,
                          nothing herein shall preclude, bar or enjoin
                          the United States of America, or its agencies,
                          from taking any and all actions to: (i) enforce
                          its police or regulatory powers; (ii) regulate
                          and administer its federal programs; or (iii)
                          assert any setoff or recoupment rights they
                          may have.




83650259v.1
                                                                Exhibit A
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Exhibit A
AGREED:


 BY: Black Elk Trustee                     BY: W&T Offshore, Inc.


 ____________________________              ____________________________

 BY: __________________(Name)              BY: _________________ (Name)

 ______________________ (Title)            _____________      ______ (Title)

 Dated: ______________________             Dated: ______________________




 BY: Burlington Resources Offshore, Inc.   BY: Talos Energy, Inc.


 ____________________________              ____________________________
           
 BY:      _________            (Name)      BY: Robert D. Abendschein
         
 ___________                ___ (Title)    EVP and Head of Operations
              
 Dated: ______________________             Dated: ______________________




BY: Argonaut Insurance Company


____________________________

BY: _________________ (Name)

_____________          ______ (Title)

Dated: ______________________




83641155v.1
                                                                               Exhibit A
AGREED:


 BY: Black Elk Trustee                     BY: W&T Offshore, Inc.


 ____________________________              ____________________________

 BY: __________________(Name)              BY: _________________ (Name)

 ______________________ (Title)            _____________        ______ (Title)

 Dated: ______________________             Dated: ______________________




 BY: Burlington Resources Offshore, Inc.   BY: Talos Energy, Inc.


 ____________________________              ____________________________
                                           __
                                            ___
                                              ________
                                                   _______
                                                        _______
                                                             __________________

 BY:      _________           (Name)       BY: Robert D. Abendschein

 ___________               ___ (Title)     EVP and Head of Operations

 Dated: ______________________                     
                                           Dated: ______________________




BY: Argonaut Insurance Company


____________________________

BY: _________________ (Name)

_____________         ______ (Title)

Dated: ______________________




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                                                                                  Exhibit A
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Exhibit A
Exhibit A
                         EXHIBIT B


                 JAB Master Services Agreement




4846-5199-1292
                                                 Exhibit A
                                                                                                     Final Execution Version




 ACKNOWLEDGEMENT OF ASSIGNMENT OF MASTER SERVICES AGREEMENT
       This Acknowledgment of Assignment of Master Services Agreement by and between
Richard Schmidt (“Trustee”), Trustee of the Black Elk Liquidating Trust (the “Trust”), and JAB
Energy Solutions II, LLC (“JAB”) is entered into this June 9, 2017.
                                                     RECITALS
        Whereas, Black Elk Energy LLC and JAB previously entered into that Master Services
Agreement for Decommissioning Services dated April 26, 2013 (the “JAB MSA”). A true and
correct copy of the JAB MSA is attached hereto as Exhibit “A”.
        Whereas, on August 11, 2015 (the “Petition Date”), four petitioning creditors filed an
involuntary bankruptcy petition [Doc. No. 1] seeking an order for relief against Black Elk Energy
Offshore Operations, LLC (“Black Elk” or the “Debtor”) under chapter 7, title 11 of the United
States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the Southern
District of Texas, Houston Division (the “Court”).
        Whereas, on September 24, 2015, JAB filed its Joint Emergency Motion of JAB Energy
Solutions II, LLC, and Merit Energy Company, LLC, to Compel Assumption (Or Shorten Time
To Assume) Certain Plugging and Abandonment Agreements in Order to Comply With
Regulations, Bridging Agreement, and 2015 Plugging and Abandonment Plan; For DIP Financing
Protections; For Adequate Protection and/or Administrative Claim (the “JAB-Merit Motion”)
[Doc. No. 196].
       Whereas, on September 29, 2015, the Court entered its order (the “JAB-Merit Order”)
approving the continuation of the P&A work pursuant to the JAB P&A Agreement (which is
defined to include the JAB MSA) [Doc. No. 230].
        Whereas, on July 13, 2016, the Court entered its Order Confirming Third Amended Plan
of Liquidation of Black Elk Energy Offshore Operations, LLC Under Chapter 11 of the
Bankruptcy Code (the “Confirmation Order”) and approved the assignment of the P&A work to
the Trusts pursuant to the terms of the JAB-Merit Order [Doc. No. 1204]. (See p. 20, para. 5)
(giving the Trust and Trustee authority to effectuate the Plan) (See also p. 40, para. 47) (preserving
the terms of the JAB-Merit Order).
        Whereas, the Trustee wishes to engage JAB to perform certain additional P&A work
subject to the assigned JAB MSA.
         Now, therefore:
       The Trustee and JAB each acknowledge that, pursuant to the Confirmation Order, all of
the Debtor’s rights and interests under the JAB MSA have been assigned to the Trust.
       Further, the Trustee and JAB each acknowledge that any subsequent Work Order between
the Trust and JAB shall be governed be the terms of the JAB MSA, including, but not limited to,
the Work Order attached hereto as Exhibit “B”.
                                                            -1-




Acknowledgement of Assignment of MSA & Work Order by and between the Black Elk Liquidating Trust and JAB Energy SolutionsA
                                                                                                             Exhibit      II, LLC
                                                                                                     Final Execution Version




Acknowledgement of Assignment of MSA & Work Order by and between the Black Elk Liquidating Trust and JAB Energy SolutionsA
                                                                                                             Exhibit      II, LLC
                                                                                                     Final Execution Version




                                                    Exhibit “A” to
                  Acknowledgement of Assignment of Master Services Agreement




                   [Attach copy of Master Services Agreement                                        for
                   Decommissioning Services dated April 26, 2013]




                                                            -3-




Acknowledgement of Assignment of MSA & Work Order by and between the Black Elk Liquidating Trust and JAB Energy SolutionsA
                                                                                                             Exhibit      II, LLC
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                                                    Exhibit “B” to
                  Acknowledgement of Assignment of Master Services Agreement
                                                  WORK ORDER
This Work Order dated June 9, 2017, between Black Elk Liquidating Trust (“Company”) and JAB
Energy Solutions II, LLC ("Contractor" or “JAB”), is issued under the provisions of that certain
Master Services Agreement For Decommissioning Services between Black Elk Energy LLC and
JAB, dated April 26, 2013 (the “JAB MSA”).

1.       Terms and Conditions. The terms and conditions of the JAB MSA, as amended by this
Work Order, will control this Work Order. As a condition precedent to this Work Order becoming
binding, not later than Tuesday, June 13, 2017, Company and Contractor shall obtain from
Argonaut Insurance Company, W&T Offshore, Inc., and Energy XXI GOM, LLC, by written
representation from counsel, approval of the form of the Work Order, including, but not limited to
the Payment Terms set forth in Schedule A hereto.

2.       Scope of Services to be Provided. The Company has issued a notice of default to Montco,
has terminated its services agreement with Montco, and now retains JAB to complete all of the
work that Montco failed to complete. The scope of work (the “Work”) to be provided by
Contractor to Company under this Work Order and compensation for performing such Work shall
be determined in accordance with the JAB MSA, as amended by this Work Order.

3.         Special provisions.

           The JAB MSA is, for the purposes of this Work Order, amended as follows:
           a.      The “Company” for the purposes of this Work Order is the Black Elk Liquidating
                   Trust.
           b.      Company’s representative for this Work Order is: Joe Bruno.
           c.      Contractor’s representative for this Work Order is: Brent Boudreaux.
           d.      All notices regarding the JAB MSA and/or this Work Order shall be sent to:
                         To Company:
                                                                                    With copy to counsel:
                          Black Elk Liquidating Trust
                          5126 Westerdale Dr.                                       Okin Adams LLP
                          Fulshear, TX 77441                                        1113 Vine St., Suite 201
                          Attention: Joe Bruno                                      Houston, TX 77002
                          E-Mail: jbruno@blackelkenergy.com                         Attention: David Curry
                                                                                    Email:
                                                                                    dcurry@okinadams.com

                         To Contractor:

                          JAB Energy Solutions II, LLC
                                                            -4-




Acknowledgement of Assignment of MSA & Work Order by and between the Black Elk Liquidating Trust and JAB Energy SolutionsA
                                                                                                             Exhibit      II, LLC
                                                                                                     Final Execution Version




Acknowledgement of Assignment of MSA & Work Order by and between the Black Elk Liquidating Trust and JAB Energy SolutionsA
                                                                                                             Exhibit      II, LLC
                                                                                                     Final Execution Version




                        Schedule A to Work Order dated effective June 9, 2017

A.       CONTRACT TERMS

The following shall take precedence over any conflicting or inconsistent terms contained in the
JAB MSA and supersedes any other agreements between Company and Contractor with respect to
the services and scope of work contemplated by this Work Order.

This contract (“Work Order” or “Contract”) shall continue in effect until the earlier of (i)
Contractor’s complete and satisfactory performance of the Work pursuant to the terms of this
Contract and the JAB MSA, or (ii) the earlier termination of this Contract due to an Event of
Default as defined in accordance with Section A.8. below. Upon the termination of this Contract,
all rights and obligations based on breach or performance prior to such termination and all rights
and obligations which are continuing in nature, including, without limitation, all rights and
obligations in connection with the information, records and audit provisions, the indemnity
provisions, and the confidentiality provisions hereof shall survive.

1.       This Work Order (being the pricing set forth in this Work Order for Contractor’s
         completion of all of the Work) is based on the understanding that Contractor will have sole
         and unhindered access to the site subject, however, to any necessary
         governmental/regulatory authorizations or permits.

2.       This Work Order is based on Contractor taking ownership of the platform components “on
         the hook”, Contractor will offload and dispose of ALL platform components.

3.       This Work Order is based on all governmental laws and regulations issued by the
         appropriate authorities having jurisdiction over Contractor and its work as of the date of
         this Work Order.

4.       Contractor does not accept damages to wells and platforms which occur after the date of
         this Work Order and prior to the removal that materially change the scope of work as set
         forth herein; provided, (i) any such damages are not caused in whole or in part by any
         member of the Contractor Group, and (ii) at the earliest practical time after commencement
         of Work discovering that such a condition exists, Contractor will immediately document
         such condition, provide written notice to the Company, and stop work until further
         instruction from the Company.

5.       This Work Order is based on the tubular in the well bores having integrity and that rigless
         P&A techniques can be utilized to plug the wells. Contractor’s bid does not include the use
         of a drilling rig or snubbing unit to plug the wells.

6.       Contractor shall promptly commence the scope of work set forth in Section C. upon
         execution of this Work Order.



                                                            -6-




Acknowledgement of Assignment of MSA & Work Order by and between the Black Elk Liquidating Trust and JAB Energy SolutionsA
                                                                                                             Exhibit      II, LLC
                                                                                                     Final Execution Version




7.       Contractor will (i) timely pay its vendors, contractors and subcontractors and (ii) not assert
         any claims against the Trustee or any other party (whether a bond surety referenced herein,
         a co-owner or prior owner of any of the oil and gas properties of concern) for any amounts
         over and above the amounts set for on Exhibit “A-1” for the designated locations and scope
         of work set forth in Section C., unless the parties hereto otherwise agree in writing for
         Contractor to perform extra work outside of the scope of this Contract.

8.       In substitution for the termination provisions of JAB MSA 30.1, Company and Contractor
         agree that Company may elect to terminate the JAB MSA and this Work Order by written
         notice to Contractor in the Event of Default. “Event of Default” shall mean the occurrence
         of any event set forth below which, following delivery of a written notice of default to
         Contractor from Company, Contractor fails to cure within sixty (60) days, in which case
         this Contract may be terminated by Company:
         a.      Contractor neglects to supply a sufficiency of properly skilled workmen, materials,
         or equipment of the proper quality and quantity;
         b.      Contractor fails to prosecute the Work or any portion thereof in an efficient,
         workmanlike, skillful, diligent and careful manner;
         c.      Contractor fails to comply, in any material respect, with any of the terms of this
         Contract;
         d.      Contractor fails to promptly pay any undisputed bills for labor and/or materials
         supplied by parties claiming by, through or under Contractor in connection with the
         performance of the Work and thereby causes or suffers a lien to be filed upon any property
         in which Company has an interest, and Contractor fails to secure the release of the lien
         within sixty (60) days after receipt of written notice of the lien claim from Company.

9.       In substitution for the provisions of JAB MSA 13.5, Company and Contractor agree that
         prior to commencing Work at a platform or facility (collectively, “Facility”), Contractor
         will obtain the most current site maps available from Oceaneering, covering such Facility
         in order to locate both surface and subsurface property, terrain, structures and/or facilities.
         Contractor will provide such site maps to Company requesting its further verification and,
         if appropriate, correction, based upon Company’s review of available information in its
         possession. If the information contained in the site maps, as reviewed by Company, is later
         determined to be inaccurate or incomplete, which results in damages to property of Third
         Party(s) caused by Contractors or its subcontractors’ placement of its anchor(s), or the
         setting down of Contractor’s or its subcontractors’ vessel(s) at the work site in reliance on
         such inaccurate or incomplete information, Company shall be liable for any and all charges
         and/or costs for any such damage to property, structures and/or facilities, including all
         environmental liability, as well as any additional costs reasonably incurred by Contractor
         resulting from such inaccurate or incomplete site map information. Notwithstanding the
         foregoing terms of this Section A.9., in the event that Contractor’s failure to conduct the
         Work in accordance with the specifications set forth in the Contract causes or contributes
         to any of the charges and/or costs for damage to property, structures and/or facilities,
         including, without limitation, environmental liability, as contemplated in this Section A.9.,
         Contractor shall be liable and responsible to the extent such charges, costs and liability are


                                                            -7-




Acknowledgement of Assignment of MSA & Work Order by and between the Black Elk Liquidating Trust and JAB Energy SolutionsA
                                                                                                             Exhibit      II, LLC
                                                                                                     Final Execution Version




         attributable to its failure to conduct the Work in accordance with the terms and provisions
         of this Contract.

B.       PAYMENT TERMS

Well Abandonment, Pipeline Abandonment, Platform Removal Work and Site Clearance.

         1.        Contractor shall be paid by Company 100% of the well abandonment (T&A) scope
                   of work set forth in Exhibit “A-1” as soon as reasonably practicable after
                   Contractor provides Company, with a copy to Argonaut Insurance Company
                   (“Argonaut”), Westchester Fire Insurance Company (“Westchester”) and any
                   non-operating working interest owner(s) and predecessor(s), as applicable, with a
                   copy of the related EOR(s) as filed with and accepted by BSEE sufficient to show
                   completion of such scope of work, including evidence that the BSEE/BOEM
                   database                (being                the                data               at
                   https://www.data.boem.gov/leasing/leaseliability/default.aspx) for the lease block
                   of concern reflects a cost estimate reduction consistent with the completion of
                   100% of the well abandonment (T&A) scope of work. Notwithstanding anything
                   else contained herein, Contractor expressly acknowledges that in no event will
                   Argonaut and/or Westchester (as applicable) release bond collateral for utilization
                   by Company to pay Contractor, to be allocated on a property-by-property basis
                   (such term as used herein is with respect to cost allocations set forth on Exhibit “A-
                   1” on a platform by platform basis or, as applicable, with respect to thirteen wells
                   on HI A-370A or ten wells drilled from VR 124 H and bottomed on VR 119), prior
                   to receipt of documentation and/or correspondence, acceptable to Argonaut and/or
                   Westchester, confirming a corresponding reduction and/or cancellation of
                   applicable bonds.

         2.        Contractor shall be paid by Company 50% of the platform removal scope of work
                   set forth in Exhibit “A-1” as soon as reasonably practicable following approval by
                   BSEE that said work has been successfully completed, as evidenced by
                   documentation reasonably required by Company, with a copy to Argonaut,
                   Westchester, W&T Offshore, Inc., and any non-operating working interest
                   owner(s) or predecessor(s), as applicable, including, without limitation, evidence
                   that the BSEE/BOEM database for the lease block of concern reflects a BSEE
                   assessment consistent with Contractor’s work completed. Notwithstanding
                   anything else contained herein, Contractor expressly acknowledges that Argonaut
                   and/or Westchester (as applicable) will not release any bond collateral for
                   utilization by Company to pay Contractor, to be allocated on a property-by-property
                   basis, prior to receipt of documentation and/or correspondence, acceptable to
                   Argonaut and/or Westchester, confirming a corresponding reduction and/or
                   cancellation of applicable bonds.

         3.        Contractor shall be paid the remaining 50% of the platform removal scope of work
                   as soon as reasonably practicable following BSEE approval of the Final Site
                                                            -8-




Acknowledgement of Assignment of MSA & Work Order by and between the Black Elk Liquidating Trust and JAB Energy SolutionsA
                                                                                                             Exhibit      II, LLC
                                                                                                     Final Execution Version




                   Clearance Report, together with evidence that the BSEE/BOEM database for the
                   lease block of concern reflects a BSEE assessment reduction consistent with
                   Contractor’s work completed. Notwithstanding anything else contained herein,
                   Contractor expressly acknowledges that in no event will Argonaut and/or
                   Westchester (as applicable) release any bond collateral for utilization by Company
                   to pay Contractor, to be allocated on a property-by-property basis, prior to receipt
                   of documentation and/or correspondence, acceptable to Argonaut and/or
                   Westchester, confirming a corresponding reduction and/or cancellation of
                   applicable bonds.

         4.        Company agrees that it shall promptly execute bond riders and any other documents
                   necessary to reduce the bonds, as applicable to the scope of work, in order to permit
                   timely payments to Contractor by Company with collateral from the applicable
                   bond sureties, escrow accounts and any non-operating interest owner. Likewise,
                   Company agrees to timely tender appropriate Authority for Expenditures (“AFE”)
                   consistent with the scope and pricing set forth in this Work Order in advance of
                   commencing Work to applicable non-operating interest owners, and upon
                   completion of the Work set forth in each such AFE, promptly tender invoices to the
                   parties as provided for in this Work Order (and its attachments). Company shall
                   also assign to Contractor any rights it has to payment from the applicable bond
                   sureties, escrow accounts and any non-operating interest owner relating to the scope
                   of work set forth in Exhibit “A-1,” attached hereto, subject to all terms and
                   conditions hereof.

         5.        Contractor expressly acknowledges that involvement of the applicable bond
                   sureties, predecessors, and non-operating interest owners identified in the payment
                   accommodations set forth above and/or below is strictly for the purposes of
                   streamlining payments and expeditiously accomplishing the full completion of the
                   scope of work identified herein. Accordingly, nothing contained herein shall be
                   construed as extending or otherwise enforcing this Work Order or the JAB MSA,
                   or any obligations arising thereunder, to and/or against any parties other than
                   Company and Contractor. In addition, Company acknowledges that it has
                   identified specific sources of funds from specific entities as identified on Exhibit
                   “A-1” for its share of decommissioning liabilities and Contractor acknowledges
                   Company’s limitations to access funds therewith to support Company's obligations
                   hereunder. Company further acknowledges that its specific identified and expected
                   payment sources are strictly limited to the specific accommodations expressly
                   provided in Exhibit “A-1” and that it has been advised that all sources of funds are
                   specific to each entity and each entity has expressly disclaimed any accommodation
                   in addition to its specific accommodations as noted therein.

         6.        Payments to Contractor will be made on a property-by-property basis upon
                   completion of the scope of work and in accordance with Sections B.1., 2. and 3.
                   above, as follows:


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         A.        East Cameron 160A: In accordance with Sections B.1., 2. and 3. above, and
                   following the receipt of verification of the completion of the platform removal, and
                   site clearance on East Cameron Area Block 160, Contractor’s invoices will be paid
                   by release of funds from the Black Elk Merit Escrow (the “Merit Escrow”) as that
                   term is used in that certain Order Authorizing Continued Use Cash Collateral and
                   Approving Stipulation (the “Merit Order”), entered as Docket No. 609 entered in
                   the United States Bankruptcy Court for the Southern District of Texas in re: Black
                   Elk Energy Offshore Operations, LLC (the “Black Elk Bankruptcy”).

                   Upon satisfaction of the foregoing release conditions, Merit will authorize release
                   from the Merit Escrow up to the total amount of $2,675,000 in the milestones set
                   forth in Sections B.1., 2. and 3. above in connection with reduction(s) to or
                   cancellation without residual liability of Travelers Bond No. 106026130. Nothing
                   herein shall alter, amend, or impair the Merit Order.

         B.        Galveston 424: In accordance with Sections B.1., 2. and 3. above, and following
                   the receipt of verification of the completion of the platform removal, and site
                   clearance on Galveston Area Block 424, Argonaut will release collateral to
                   Company for payment to Contractor up to the total amount of $2,125,000 in
                   connection with reduction(s) to or cancellation without residual liability of
                   Argonaut Bond Nos. SUR0032522 and SUR0032464. Final cancellation without
                   residual liability of Argonaut Bond No. SUR0032464 shall not occur unless and
                   until the BSEE/BOEM database reflects a cost estimate of $0 with respect to GA
                   424.

         C.        West Cameron 580A: In accordance with Sections B.1., 2. and 3. above, and
                   following the receipt of verification of the completion of the platform removal, and
                   site clearance on West Cameron Area Block 580, Argonaut will release collateral
                   to Company for payment to Contractor up to the total amount of $2,675,0001 in
                   connection with reduction(s) to or cancellation without residual liability of
                   Argonaut Bond Nos. SUR0032489 and SUR0032519.

         D.        High Island A370: In accordance with Sections B.1., 2. and 3. above, and following
                   the receipt of verification of the completion of all plugging and abandonment,
                   decommissioning work, platform removal, and site clearance on High Island Area
                   Block A370, Contractor’s invoices will be paid as follows: (i) Argonaut will release
                   collateral to Company for payment to Contractor up to the total amount of
                   $4,005,9972 in connection with reduction(s) to or cancellation without residual
                   liability of Argonaut Bond No. SUR0019139; (ii) W&T will authorize release to
                   Company for payment to Contractor in the total amount of $2,771,666 from its non-
                   operated escrow account to pay for costs of final platform removal and site

1
 Subject to Argonaut’s continuing efforts/discussion with Maritech to fill payment gap.
2
  This financial accommodation relates solely to HI A370 and shall not be interpreted or construed as Argonaut’s
agreement to contribute more than the lesser of the penal sum of the applicable Argonaut bond(s) or a proportionate
share of turnkey pricing on any other property referenced in the Work Order.
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                   clearance; (iii) Energy Resources Technology GOM, LLC (“ERT”) will directly
                   pay Contractor the total amount of $1,818,750; and (iv) Fairways Offshore
                   Exploration, Inc. (“Fairways”) will directly pay Contractor the total amount of
                   $970,000. Each invoice will be paid in accordance with Exhibit “A-3”.

         E.        Vermilion 119, Platforms D and G and VR 124 H Well Abandonment: In
                   accordance with Sections B.1., 2. and 3. above, and following the receipt of
                   verification of the temporary plugging and abandonment of the remaining ten (10)
                   wells at VR 124 H with bottomhole locations on Block 119, Vermilion Area, and
                   decommissioning work, platform removal, and site clearance on Vermilion Area
                   Block 119, Platforms D and G, Contractor’s invoices will be paid as follows: (i)
                   Argonaut will release collateral to Company for payment to Contractor up to the
                   total amount of $3,244,808.50 in connection with reduction(s) to or cancellation
                   without residual liability of Argonaut Bond No. SUR0002569; and (ii) Westchester
                   will release collateral to Company for payment to Contractor up to the total amount
                   of $3,244,808.50 in connection with reduction(s) to or cancellation without residual
                   liability of Westchester Bond No. KO8977847, For clarity, the above pricing
                   includes the ten (10) wells at VH 124 H that bottom hole at VR 119. Each invoice
                   will be paid in accordance with Exhibit “A-2”.

         F.        Vermilion 124, Platforms E, H and I: In accordance with Sections B.1., 2. and 3.
                   above, and following the receipt of verification of completion of all the permanent
                   well abandonment at VR 124 H, decommissioning work, platform removal, and
                   site clearance on Vermilion Area Block 124, Platforms E, H and I, Contractor’s
                   invoices will be paid in the aggregate as follows: (i) Argonaut will release collateral
                   to Company for payment to Contractor up to the total amount of $1,362,500 in
                   connection with reduction(s) to or cancellation without residual liability of
                   Argonaut Bond No. SUR0002567; (ii) Westchester will release collateral to
                   Company for payment to Contractor up to the total amount of $3,203,022.50 in
                   connection with reduction(s) to or cancellation without residual liability of
                   Westchester Bond Nos. KO8977847 and KO8977884; and (iii) W&T will authorize
                   release to Company for payment to Contractor in the total amount of $1,840,522.50
                   from its non-operated escrow account for payment of final platform removal and
                   site clearance invoices. Each invoice will be paid in accordance with Exhibit “A-
                   2”.

                   Notwithstanding anything to the contrary set forth in this Section B., following
                   Westchester’s release of collateral with respect to Vermilion 119, Platforms D and
                   G, and Vermilion 124, Platforms E, H and I as set forth above, the remaining
                   collateral in the amount of $1,097,167.50 with respect to Westchester Bond Nos.
                   K08977847 and K08977884 shall be released to Energy XXI GOM, LLC
                   (“EXXI”) upon the cancellation of such bonds without residual liability of
                   Westchester. This paragraph is included for notice purposes only and shall not be
                   construed as a waiver by Liquidating Trust or the Black Elk Litigation Trust of any


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                   claims or defenses to claims that either trust may hold as to Westchester or Energy
                   XXI GOM, LLC.

C.       SCOPE OF WORK

General

     1. Contractor will perform the Services identified in this Work Order including, without
        limitation, those identified below for each of the various locations:

             EC 160 A-Aux, 8-pile platform (conductors have been severed and removed by
              others at 15’ BML)

              1. If required, prepare and submit to BSEE all required platform removal and pipeline
                  abandonment permit applications and use all reasonable efforts to pursue such
                  permit approvals from BSEE.
              2. Prepare all work scope procedures in accordance with all governmental and BSEE
                  regulations.
              3. Mobilize to site platform prep crews and prep platform for removal operations.
              4. Abandon pipeline segment #
              5. Mobilize equipment and personnel to site for removal work.
              6. Remove platform jacket, decks per BSEE regulations.
              7. Transport to shore jackets, decks.
              8. Offload and dispose of jackets, decks. Dispose of all NORM and asbestos per the
                  regulations.
              9. Explosives shall be utilized to sever jacket piles, unless governmental regulations
                  prohibits the use of explosives. Abrasives or mechanical cutting tools will be
                  secondary means of severing.
              10. Mobilize and perform site clearance per the approved permit.
              11. Prepare and submit all completion documents and submit to BSEE.


             GA 424, 4-pile platform (conductors have been severed and removed by others at 15’
              BML)

              1. If required, prepare and submit to BSEE all required platform removal and pipeline
                 abandonment permit applications and use all reasonable efforts to pursue such
                 permit approvals from BSEE.
              2. Prepare all work scope procedures in accordance with all governmental and BSEE
                 regulations.
              3. Mobilize to site platform prep crews and prep platform for removal operations.
              4. Abandon pipeline tube turn of segment # 14467.
              5. Mobilize equipment and personnel to site for removal work. Sever tube turn at
                 jacket.
              6. Remove platform jacket, decks per BSEE regulations.
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              7. Transport to shore jackets, decks.
              8. Offload and dispose of jackets, decks. Dispose of all NORM and asbestos per the
                  regulations.
              9. Explosives shall be utilized to sever jacket piles, unless governmental regulations
                  prohibits the use of explosives. Abrasives or mechanical cutting tools will be
                  secondary means of severing.
              10. Mobilize and perform site clearance per the approved permit.
              11. Prepare and submit all completion documents and submit to BSEE.

             WC 580 A, 4-pile platform (conductors have been severed and removed by others at
              15’ BML)

              1. If required prepare and submit to BSEE all required platform removal permit
                  applications and use all reasonable efforts to pursue such permit approvals from
                  BSEE.
              2. Prepare all work scope procedures in accordance with all governmental and BSEE
                  regulations.
              3. Prepare when applicable jacket reef applications and submit for approval.
              4. Mobilize to site platform prep crews and prep platform for removal operations.
              5. Mobilize equipment and personnel to site for removal work.
              6. Remove platform jacket, decks per BSEE regulations. Reef jackets where
                  applicable and approved. Reef donations are included where applicable.
              7. Transport to shore jackets, decks.
              8. Offload and dispose of jackets, decks and conductors. Dispose of all NORM and
                  asbestos per the regulations.
              9. Explosives shall be utilized to sever jacket piles unless governmental regulations
                  prohibits the use of explosives. Abrasives or mechanical cutting tools will be
                  secondary means of severing.
              10. Mobilize and perform site clearance per the approved permit.
              11. Prepare and submit all completion documents and submit to BSEE.

             HI A 370 A, 8-pile platform and 13 wells

              1. Prepare and submit all required APMs for the well abandonment and use all
                 reasonable efforts to pursue such permit approvals from BSEE.
              2. Mobilize and abandon 13 wells per approved APM.
              3. Prepare and submit to BSEE all required platform removal and pipeline
                 abandonment permit applications and use all reasonable efforts to pursue such
                 permit approvals from BSEE
              4. Prepare all work scope procedures in accordance with all governmental and BSEE
                 regulations.
              5. Prepare when applicable jacket reef applications and submit for approval.
              6. Mobilize to site platform prep crews and prep platform for removal operations.
              7. Mobilize equipment and personnel to site for removal work.

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              8. Remove platform jacket, decks and conductors per BSEE regulations. Reef jackets
                  where applicable and approved. Reef donations are included where applicable.
                  Abandon riser of segment # 9054 at the platform end.
              9. Transport to shore jackets, decks and conductors.
              10. Offload and dispose of jackets, decks and conductors. Dispose of all NORM and
                  asbestos per the regulations.
              11. Explosives shall be utilized to sever jacket piles and conductors unless
                  governmental regulations prohibits the use of explosives. Abrasives or mechanical
                  cutting tools will be secondary means of severing.
              12. Mobilize and perform site clearance per the approved permit.
              13. Prepare and submit all completion documents and submit to BSEE.

             VR 124 H, 10-pile platform

              1. Prepare and submit all required APMs for the well abandonments, and use all
                  reasonable efforts to pursue approval of APMs from BSEE, together with any other
                  required authorizations or approvals .
              2. Mobilize and abandon 10 wells per approved APM.
              3. Prepare and submit to BSEE all required platform removal and pipeline
                  abandonment permit applications and use all reasonable efforts to pursue such
                  permit approvals from BSEE
              4. Prepare all work scope procedures in accordance with all governmental and BSEE
                  regulations.
              5. Prepare when applicable jacket reef applications and submit for approval.
              6. Mobilize to site platform prep crews and prep platform for removal operations.
              7. Mobilize equipment and personnel to site for removal work.
              8. Remove platform jacket, decks and conductors per BSEE regulations. Abandon
                  tube turns of line segments 7132 and 7762 at the platform end.
              9. Transport to shore jackets, decks and conductors.
              10. Offload and dispose of jackets, decks and conductors. Dispose of all NORM and
                  asbestos per the regulations.
              11. Explosives shall be utilized to sever jacket piles and conductors unless
                  governmental regulations prohibits the use of explosives. Abrasives or mechanical
                  cutting tools will be secondary means of severing.
              12. Mobilize and perform site clearance per the approved permit.
              13. Prepare and submit all completion documents and submit to BSEE.

             VR 119 D, 6-pile platform, and G, 4-pile platform, (conductors have been severed
              and removed by others at 15’ BML)

              1. If required prepare and submit to BSEE all required platform removal permit
                 applications and use all reasonable efforts to pursue such permit approvals from
                 BSEE.
              2. Prepare all work scope procedures in accordance with all governmental and BSEE
                 regulations.
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              3.  Prepare when applicable jacket reef applications and submit for approval.
              4.  Mobilize to site platform prep crews and prep platform for removal operations.
              5.  Mobilize equipment and personnel to site for removal work.
              6.  Remove platform jacket, decks per BSEE regulations. Abandon tube turns of line
                  segments 7132, 7762 and 8267 at the VR 119 D platform.
              7. Transport to shore jackets, decks.
              8. Offload and dispose of jackets, decks and conductors. Dispose of all NORM and
                  asbestos per the regulations.
              9. Explosives shall be utilized to sever jacket piles unless governmental regulations
                  prohibits the use of explosives. Abrasives or mechanical cutting tools will be
                  secondary means of severing.
              10. Mobilize and perform site clearance per the approved permit.
              11. Prepare and submit all completion documents and submit to BSEE.

             VR 124 E and I, 2 each 4-pile platforms (conductors have been severed and removed
              by others at 15’ BML)

              1. If required prepare and submit to BSEE all required platform removal permit
                  applications and use all reasonable efforts to pursue such permit approvals from
                  BSEE.
              2. Prepare all work scope procedures in accordance with all governmental and BSEE
                  regulations.
              3. Prepare when applicable jacket reef applications and submit for approval.
              4. Mobilize to site platform prep crews and prep platform for removal operations.
              5. Mobilize equipment and personnel to site for removal work.
              6. Remove platform jacket, decks per BSEE regulations. Abandon tube turn of line
                  segment 8267 at VR 119 E platform.
              7. Transport to shore jackets, decks.
              8. Offload and dispose of jackets, decks and conductors. Dispose of all NORM and
                  asbestos per the regulations.
              9. Explosives shall be utilized to sever jacket piles unless governmental regulations
                  prohibits the use of explosives. Abrasives or mechanical cutting tools will be
                  secondary means of severing.
              10. Mobilize and perform site clearance per the approved permit.
              11. Prepare and submit all completion documents and submit to BSEE.

    2. Upon the commencement of Work pursuant to this Work Order, daily reports will be
       provided electronically by Contractor to Company and, upon request, provided by
       Contractor to any third party associated with the payment accommodations under Section
       B., and as reflected on Exhibit “A-1”.




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Acknowledgement of Assignment of MSA & Work Order by and between the Black Elk Liquidating Trust and JAB Energy SolutionsA
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                                                  Exhibit “A-1” to
                                                    Schedule A




                       [Attach the Spreadsheet prepared by Looper Goodwine]




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Acknowledgement of Assignment of MSA & Work Order by and between the Black Elk Liquidating Trust and JAB Energy SolutionsA
                                                                                                             Exhibit      II, LLC
                                                                                                                                             EXHIBIT "A‐1" to Schedule A


                                                                                                                               PLATFORM           TOTAL
                            LOCATION                                        WD          PF
                                                                                                                                                                                                                Expected        Expected   Expected        Expected        Expected           Expected
      ACQ     Operated BLOCK (FIELD) Platform              Non‐Op           ft          WI                TYPE          COND   REMOVAL           Well T&A       TOTAL GROSS    NET TO BEEOO   Lease by Lease
                                                                                                                                                                                                               Funds from      Funds from Funds from      Funds from      Funds from         Funds From
                                                                                                                                                                                                                Argonaut          W&T     Westchester      Travelers       Fairways             ERT
   Merit         BEE             EC 160 A                   N/A                      100.00%              8 pile         0     $2,675,000           $0            $2,675,000    $2,675,000      $2,675,000     $           ‐   $        ‐   $         ‐    $2,675,000     $              ‐   $          ‐
   Nippon        BEE             GAL 424                    N/A                      100.00%              4 pile         0     $2,125,000           $0            $2,125,000    $2,125,000      $2,125,000      $2,125,000     $        ‐   $         ‐   $           ‐   $              ‐   $          ‐
  Maritech       BEE             WC 580 A                   N/A             200      100.00%              4 pile         0     $2,675,000           $0            $2,675,000    $2,675,000      $2,675,000     $2,675,000(1)   $        ‐   $         ‐   $           ‐   $              ‐   $          ‐
    W&T          BEE         HI A370 A (Wells)              W&T             350      71.25%               8‐Pile         13        $0           $3,850,000        $3,850,000    $2,743,125      $2,743,125      $2,743,125     $        ‐   $         ‐   $           ‐       $385,000         $721,875
    W&T          BEE             HI A370 A                  W&T             350      71.25%               8‐Pile         13    $5,850,000           $0            $5,850,000    $4,168,125      $4,168,125      $1,262,872     $2,771,666   $         ‐   $           ‐       $585,000       $1,096,875
    W&T          BEE         VR 124 H (Wells)               EXXI            73       50.00%               4‐pile         10        $0           $2,675,000        $2,675,000    $1,337,500      $1,337,500      $1,337,500     $        ‐   $1,337,500    $           ‐   $              ‐   $          ‐
    W&T          BEE             VR 119 D                   EXXI            71       50.00%               4‐pile         0     $2,000,297           $0                          $1,000,149
                                                                                                                                                                  $3,814,617                    $1,907,309     $1,907,309      $        ‐   $1,907,309    $            ‐ $               ‐ $            ‐
    W&T          BEE             VR 119 G                   EXXI            69       50.00%               4‐pile         0     $1,814,320           $0                           $907,160
    W&T          BEE             VR 124 E                   EXXI            70       50.00%               4‐pile         0     $2,201,250           $0                          $1,100,625
    W&T          BEE             VR 124 H                   EXXI            73       50.00%               4‐pile         10    $2,494,079           $0            $6,406,045    $1,247,040      $3,203,023     $1,362,500      $1,840,523   $3,203,023    $            ‐ $               ‐ $            ‐
    W&T          BEE              VR 124 I                  EXXI            70       50.00%               4‐pile         0     $1,710,716           $0                           $855,358
                                                                                                              TOTALS:          $23,545,662      $6,525,000       $30,070,662    $20,834,081    $20,834,081     $13,413,305     $4,612,189   $6,447,831    $2,675,000          $970,000       $1,818,750
(1)
  Subject to additional discussion with Maritech.
**Sources of funds allocated to Fairways and ERT subject to additional discussion with said entities.**




                                                                                                                                                                                                                                                              Exhibit A
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                                                   Exhibit “A-2” to
                                                     Schedule A

                            A.       VR-124 DETAILED PAYMENT SCHEDULE


1.       VR-124 H Wells Invoice                                                                        $2,675,000

         Billed to Company
         Payable as follows:

         a.        50% by Argonaut from VR-119 bond reduction                                          $1,337,500

         b.        50% by Westchester/EXXI from VR-119 bond reduction                                  $1,337,500

                  Payment Trigger: Receipt of EOR(s) as filed with and accepted by BSEE sufficient to
                   demonstrate completion of the work and evidence that the BOEM/BSEE database for VR-
                   119 reflects a cost estimate reduction consistent with the completion of all well T&A.


2.       VR-124 E Platform Invoice                                                                     $2,201,250

         Billed to Company
         Payable as follows in two equal invoices:

         a.        First invoice:
                   i.       50% by Argonaut from VR-124 bond reduction                                  $550,313
                   ii.      50 % by Westchester as directed by EXXI                                     $550,313
                   iii.     TOTAL of first invoice                                                      $1,100,626

         b.        Second invoice:
                   i.     50% by release from W&T Escrow                                                $550,312
                   ii.    50% by Westchester / EXXI                                                     $550,312
                   iii.   TOTAL of second invoice                                                       $1,000,624

                  Payment Trigger: Receipt of completion report filed with and accepted by BSEE sufficient
                   to demonstrate completion of the work and evidence that the BOEM/BSEE database for
                   VR-124 reflects a cost estimate reduction consistent with (i) the completion of all platform
                   removal work, as applicable, for initial invoice, and (ii) final site clearance for the second
                   invoice.

3.       VR-124 I Platform Invoice                                                                     $1,710,716

         Billed to Company
         Payable as follows in two equal invoices:

         a.        First invoice:
                   i.       50% by Argonaut from VR-124 bond reduction                                  $427,679
                   ii.      50 % by Westchester / EXXI                                                  $427,679
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                   iii.     TOTAL of first invoice                                                      $855,358

         b.        Second invoice:
                   i.     50% by release from W&T Escrow                                                $427,679
                   ii.    50% by Westchester / EXXI                                                     $427,679
                   iii.   TOTAL of second invoice                                                       $855,358

                  Payment Trigger: Receipt of completion report filed with and accepted by BSEE sufficient
                   to demonstrate completion of the work and evidence that the BOEM/BSEE database for
                   VR-124 reflects a cost estimate reduction consistent with (i) the completion of all platform
                   removal work, as applicable, for initial invoice, and (ii) final site clearance for the second
                   invoice.


4.       VR-124 H Platform Invoice                                                                     $2,494,079

         Billed to Company
         Payable as follows in two equal invoices:

         a.        First invoice:
                   i.       50% by Westchester / EXXI                                                   $623,520
                   ii.      By Argonaut from bond reduction                                             $384,508
                   iii.     By release from W&T Escrow                                                  $239,012
                   iv.      TOTAL of first invoice                                                    $1,247,040

         b.        Second invoice:
                   i.     50% by Westchester / EXXI                                                     $623,520
                   ii.    50% by release from W&T Escrow                                                $623,519
                   iii.   TOTAL of second invoice                                                     $1,247,039

                  Payment Trigger: Receipt of completion report filed with and accepted by BSEE sufficient
                   to demonstrate completion of the work and evidence that the BOEM/BSEE database for
                   VR-124 reflects a cost estimate reduction consistent with (i) the completion of all platform
                   removal work, as applicable, for initial invoice, and (ii) final site clearance for the second
                   invoice.

    Summary of VR-124 Total Sources

         c.        VR-124 Wells
                   i.    Argonaut                                                                       $1,337,500
                   ii.   Westchester / EXXI                                                             $1,337,500
                   iii.  TOTAL                                                                          $2,675,000

         d.        VR 124 Platforms
                   i.     Argonaut                                                                      $1,362,500
                   ii.    W&T Escrow                                                                    $1,840,523
                   iii.   Westchester / EXXI                                                            $3,203,023
                   iv.    TOTAL                                                                         $6,406,046


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                                 B.          VR-119 DETAILED PAYMENT SCHEDULE


    5. VR-119 D Platform Invoice                                                                                   $2,000,297

        Billed to Company
        Payable as follows in two equal invoices:

        a.        First invoice:
                  i.       50% by Argonaut from VR-119 bond reduction                                              $500,074.25
                  ii.      50% by Westchester as directed by EXXI from VR-119 bond reduction                       $500,074.25

        b.        Second invoice:
                  i.     50% by Argonaut from VR-119 bond reduction                                                $500,074.25
                  ii.    50% by Westchester as directed by EXXI from VR-119 bond reduction                         $500,074.25

                 Payment Trigger: Receipt of completion report filed with and accepted by BSEE sufficient to
                  demonstrate completion of the work and evidence that the BOEM/BSEE database for VR-119
                  reflects a cost estimate reduction consistent with (i) the completion of all platform removal work,
                  as applicable, for initial invoice, and (ii) final site clearance for the second invoice.


    6. VR-119 G Platform Invoice                                                                                   $1,814,320

        Billed to Company
        Payable as follows in two equal invoices:

        a.        First invoice:
                  i.       50% by Argonaut from VR-119 bond reduction                                              $453,580
                  ii.      50 % by Westchester as directed by EXXI                                                 $453,580

        b.        Second invoice:
                  i.     50% by release from Argonaut from VR-119 bond reduction                                   $453,580
                  ii.    50% by Westchester as directed by EXXI from VR-119 bond reduction                         $453,580

                 Payment Trigger: Receipt of completion report filed with and accepted by BSEE sufficient to
                  demonstrate completion of the work and evidence that the BOEM/BSEE database for VR-119
                  reflects a cost estimate reduction consistent with (i) the completion of all platform removal work,
                  as applicable, for initial invoice, and (ii) final site clearance for the second invoice.


       Summary of VR-119 Total Sources

                 VR-119 Platforms
                       Argonaut                                                                                 $1,907,308.50
                       Westchester / EXXI                                                                       $1,907,308.50
                       TOTAL                                                                                    $3,814,617




    Acknowledgement of Assignment of MSA & Work Order by and between the Black Elk Liquidating Trust and JAB Energy SolutionsA
                                                                                                                 Exhibit      II, LLC
                                                                                                           Final Execution Version




                                                         Exhibit “A-3” to
                                                           Schedule A

                                          HI A 370 DETAILED PAYMENT SCHEDULE


 1.       HI A 370 A (13) Wells Invoice                                                                              $3,850,000

          Billed to Company
          Payable as follows:

          a.        71.25% by Argonaut from HI A370 bond reduction                                                   $2,743,125

          b.        18.75% by contribution from ERT                                                                  $721,875

          c.        10% by contribution from Fairways                                                                $385,000

                   Payment Trigger: Receipt of EOR(s) as filed with and accepted by BSEE sufficient to demonstrate
                    completion of the work and evidence that the BOEM/BSEE database for HI A370 reflects a cost
                    estimate reduction consistent with the completion of all well T&A.


2.        HI A 370 A Platform Invoice                                                                                $5,850,000

          Billed to Company
          Payable as follows in two invoices:

          a.        First invoice :
                    i.       By Argonaut from HI A370 bond reduction & add’l funds(1)                                $1,262,872
                    ii.      By W&T Offshore, Inc. through non-operated escrow funds                                 $821,191
                    iii.     By contribution from ERT                                                                $548,437
                    iv.      By contribution from Fairways                                                           $292,500
                    v.       TOTAL of first invoice                                                                  $2,925,000

          b.        Second invoice:
                    i.     By W&T Offshore, Inc. through non-operated escrow funds                                   $1,950,475(2)
                    ii.    By contribution from ERT                                                                  $548,437
                    iii.   By contribution from Fairways                                                             $292,500
                    iv.    TOTAL of second invoice                                                                   $2,791,412

                   Payment Trigger: Receipt of completion report as filed with and accepted by BSEE sufficient to
                    demonstrate completion of the work and evidence that the BOEM/BSEE database for HI A370 A
                    reflects a cost estimate reduction consistent with (i) the completion of all platform removal work
                    and removal of associated wells and pipelines, as applicable, for initial invoice, and (ii) final site
                    clearance for the second invoice.




      Acknowledgement of Assignment of MSA & Work Order by and between the Black Elk Liquidating Trust and JAB Energy SolutionsA
                                                                                                                   Exhibit      II, LLC
                                                                                                         Final Execution Version




         Summary of HI A370 Total Sources

                 HI A370 Wells
                       Argonaut                                                                                   $2,743,125
                       ERT                                                                                        $721,875
                       Fairways                                                                                   $385,000
                       TOTAL                                                                                      $3,850,000

                 HI A370 Platforms
                       Argonaut                                                                                   $1,262,872
                       W&T Offshore, Inc.                                                                         $2,771,666
                       ERT                                                                                        $1,096,875
                       Fairways                                                                                   $585,000
                       TOTAL                                                                                      $5,716,413(2)
    (1)
          This financial accommodation relates solely to HI A370 and shall not be interpreted or construed as Argonaut’s
          agreement to contribute more than the lesser of the penal sum of the applicable Argonaut bond(s) or a proportionate
          share of turnkey pricing on any other property referenced in the Work Order.

    (2)
          Includes a $133,588 contribution by JAB to Black Elk’s proportionate share of the platform work per agreement
          amongst JAB, Argonaut, and W&T Offshore, Inc.




    Acknowledgement of Assignment of MSA & Work Order by and between the Black Elk Liquidating Trust and JAB Energy SolutionsA
                                                                                                                 Exhibit      II, LLC
                          EXHIBIT C-1


                 TPW Payment Receipt Instructions

                         [To be provided]




4846-5199-1292
                                                    Exhibit A
                          EXHIBIT C-2


       Parties’ Delivery Receipt Instructions/Address for All
      Communication Deliveries Under Term Sheet Agreement

                         [To be provided]




4846-5199-1292
                                                         Exhibit A
       Delivery of any required notice or communication to each Party shall be effected as
follows:

To the Trustee:

         Via U.S. mail, postage prepaid:
                Richard Schmidt
                615 Leopard Street, Suite 635
                Corpus Christi, Texas 78401

                 With a copy to counsel:
                 John J. Sparacino
                 McKool Smith, PC
                 600 Travis Street, Suite 7000
                 Houston, Texas 77002

                        and

         Via E-mail:
               rss@judgerss.com
               jsparacino@mckoolsmith.com



To W&T:

         Via U.S. mail, postage prepaid:
                Philip Eisenberg
                Bradley C. Knapp
                Locke Lord LLP
                600 Travis Street, Suite 2800
                Houston, Texas 77002
                peisenberg@lockelord.com
                bknapp@lockelord.com

To Talos:

         Via U.S. mail, postage prepaid:
                Deborah Huston
                VP & Deputy General Counsel
                Talos Energy
                333 Clay Street, Suite 3300
                Houston, TX 77002

                        and



                                                 1
4846-5199-1292
                                                                                Exhibit A
         Via E-mail:
               deborah.huston@talosenergy.com



To JAB:

         Via U.S. mail, postage prepaid:
                Albert Altro, Chief Restructuring Officer
                JAB Energy Solutions II, LLC
                19221 I-45 South, Suite 324,
                Shenandoah, TX 77385

                 With a copy to counsel:

                 Laura Davis Jones
                 Colin R. Robinson
                 Pachulski Stang Ziehl & Jones
                 919 North Market Street, 17th Floor
                 Wilmington, DE 19801

                        and

         Via E-mail:
               albertaltro@traversellc.om
               ljones@pszjlaw.com
               crobinson@pszjlaw.com

To Argo:

         Via U.S. mail, postage prepaid:
                Argo Group US
                Attn: Robert G. Lavitt
                PO Box 469011
                San Antonio, TX 78246

                 With a copy to counsel:
                 Lindsey M. Johnson
                 Looper Goodwine P.C.
                 650 Poydras Street, Suite 2400
                 New Orleans, LA 70130

                        and




                                                  2
4846-5199-1292
                                                            Exhibit A
         Via E-mail:
               Surety.Claims@ArgoSurety.com
               ljohnson@loopergoodwine.com


To BSEE:

         Via U.S. mail, postage prepaid:
                Bureau of Safety and Environmental Enforcement
                1201 Elmwood Park Blvd.
                New Orleans, LA 70123-2394

                       and

         Via E-mail:
               daniel.martin@usdoj.gov
               eric.andreas@sol.doi.gov


To TPW:

         Via U.S. mail, postage prepaid:
                Texas Parks and Wildlife Department
                Artificial Reef Program
                4200 Smith School Rd.
                Austin, TX 78744-3291
                Attention: Dale Shively

                       and

         Via E-mail:
               dale.shively@tpwd.texas.gov
               julian.martinez@tpwd.texas.gov



To Burlington:

         Via U.S. mail, postage prepaid:
                Philip Eisenberg
                Bradley C. Knapp
                Locke Lord LLP
                600 Travis Street, Suite 2800
                Houston, Texas 77002
                plocke@lockelord.com
                bknapp@lockelord.com


                                                3
4846-5199-1292
                                                                 Exhibit A
                         EXHIBIT C-3


    Fund Delivery Instructions for Net Remaining Funds to JAB

                        [To be provided]




4846-5199-1292
                                                        Exhibit A
                   EXHIBIT D


                 Escrow Agreement

                 [To be provided]




4846-5199-1292
                                    Exhibit A
                           EXHIBIT F


                 Form of Bond Cancellation Notice

                         [To be provided]




4846-5199-1292
                                                    Exhibit A
                                                                     1

 1
 2   UNITED STATES BANKRUPTCY COURT
 3   DISTRICT OF DELAWARE
 4   - - - - - - - - - - - - - - - - - - - - -x
 5   In the Matter of:
 6
 7   JAB ENERGY SOLUTIONS II, LLC,            Case No.
 8             Debtor.                        21-11226 (CTG)
 9   - - - - - - - - - - - - - - - - - - - - -x
10
11

12                  United States Bankruptcy Court
13                  824 North Market Street
14                  Wilmington, Delaware
15
16                  February 25, 2022
17                  2:00 PM

18
19
20   B E F O R E:
21   HON. CRAIG T. GOLDBLATT
22   U.S. BANKRUPTCY JUDGE
23
24   ECR OPERATOR:   SEAN MORAN
25




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                                                                       2

 1
 2   Debtor's Motion for Approval of Settlement Agreement Regarding
 3   Decommissioning of High Island A370 Project [Filed: 2/4/22]
 4   (Docket No. 149)
 5
 6   Turnkey Offshore Project Services, LLC's and Offshore Technical
 7   Solutions, LLC's (I) Preliminary Objection to Debtor's Motion
 8   for Approval of Settlement Agreement Regarding Decommissioning
 9   of High Island A370 Project [Docket No. 149] and (II)
10   Cross-Motion for Entry of an Order Modifying the Automatic Stay
11   [Filed: 2/17/22] (Docket No. 160).

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25   Transcribed by:    Sharona Shapiro




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 1
 2   A P P E A R A N C E S: (All present by video or telephone)
 3   PACHULSKI STANG ZIEHL & JONES
 4         Attorneys for Debtor
 5   BY:   LAURA DAVIS JONES, ESQ.
 6         COLIN R. ROBINSON, ESQ.
 7         MAXIM B. LITVAK, ESQ.
 8
 9
10   MORRIS NICHOLS ARSHT & TUNNEL LLP
11         Attorneys for Turnkey Offshore Product Services, LLC &

12         Offshore Technical Solutions, LLC
13   BY:   JOSEPH C. BARSALONA, II, ESQ.
14         MATTHEW B. HARVEY, ESQ.
15         BRIAN LOUGHNANE, ESQ.
16
17

18   MORRISON COHEN LLP
19         Attorneys for CastleGate Credit Opportunities Fund, LLC
20   BY:   DAVID J. KOZLOWSKI, ESQ.
21
22
23
24
25




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 1
 2   STEPTOE & JOHNSON LLP
 3         Attorneys for GarMark SBIC Fund II, LLC
 4   BY:   JEFFREY M. REISNER, ESQ.
 5         KERRI A. LYMAN, ESQ.
 6
 7
 8   LOCKE LORD LLP
 9         Attorneys for Energen Resources
10   BY:   BRAD C. KNAPP, ESQ.
11         PHILIP EISENBERG, ESQ.

12
13
14   BAYARD, P.A.
15         Attorneys for CastleGate Credit Opportunities Fund, LLC
16   BY:   ERIN R. FAY, ESQ.
17

18
19   LUGENBUHL, WHEATON, PECK, RANKIN & HUBBARD
20         Attorneys for Official Committee of Unsecured Creditors
21   BY:   BENJAMIN W. KADDEN, ESQ.
22         COLEMAN L. TORRANS, ESQ.
23
24
25




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 1
 2   LOOPER GOODWINE P.C.
 3         Attorneys for Argonaut Insurance Company
 4   BY:   PAUL J. GOODWINE, ESQ.
 5
 6
 7   UNITED STATES DEPARTMENT OF JUSTICE
 8         Office of the United States Trustee
 9   BY:   DANIEL MARTIN, ESQ.
10         TIMOTHY J. FOX, JR., ESQ.
11

12
13   NALLEY AND DEW, APLC
14         Attorneys for Turnkey Offshore Project Services, LLC
15   BY:   GEORGE J. NALLEY, JR., ESQ.
16
17

18   RICHARD W. MARTINEZ, APLC
19         Attorney for Turnkey Offshore Project Services
20   BY:   RICHARD W. MARTINEZ, ESQ.
21
22
23   BOHMAN NORSE, LLC
24         Attorneys for Offshore Technical Solutions, LLC
25   BY:   MARTIN BOHMAN, ESQ.




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 1
 2   LAW OFFICES OF JOYCE, LLC
 3         Attorneys for Official Committee of Unsecured Creditors
 4   BY:   MICHAEL JOYCE, ESQ.
 5
 6
 7   MCKOOL SMITH
 8         Special Counsel for Black Elk Trustee
 9   BY:   JOHN J. SPARACINO, ESQ.
10
11

12   SNOW & GREEN LLP
13         Attorneys for Allison Marine Holders
14   BY:   KENNETH GREEN, ESQ.
15
16
17   OFFICE OF THE ATTORNEY GENERAL

18         Attorneys for Texas Parks & Wildlife Department
19   BY:   LAYLA MILLIGAN, AAG
20
21
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25




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 1
 2   ALSO PRESENT:
 3         ALBERT ALTRO, Chief Restructuring Officer
 4         LINDSEY JOHNSON, Argonaut
 5         STEVEN C. PICKHARDT, GarMark Advisors L.L.C
 6         ROCKY HENDERSON, Turnkey Offshore Project Services, LLC
 7         UDAY GORREPATI, ABI Project
 8         BYRON I. SPROULE, GarMark Advisors, L.L.C.
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 1                           P R O C E E D I N G S
 2             THE COURT:    Good afternoon.   At least good afternoon
 3   here on the East Coast.    This is Judge Goldblatt.    We are on
 4   the record,    In re Jab Energy Solutions, which is case number
 5   21-11226.
 6             You all heard the preliminary observations yesterday,
 7   so I don't think I need to repeat those.     What I do need to do,
 8   though, is apologize to everyone for the on-again, off-again
 9   timing.   I had earlier asked that this be set an hour earlier.
10   That was a mistake on my part, so we reset it.     I don't mean to
11   impose all of my errors on everyone else's calendar.      So my

12   apologies there.    That is a hundred percent my fault.   I wish I
13   could find someone else to blame, but I can't find anyone else
14   who's responsible for that mistake other than me.
15             So I had a very helpful conversation yesterday, late
16   yesterday, with Judge Currault, and between my reflection on
17   the issues, review of the case law to which the parties had

18   pointed to me, and that conversation, I feel like I am in a
19   position to rule on the two questions that I think are before
20   me to rule.
21             Before I do, as much as I love to hear myself talk,
22   let me pause and ask if there's anything that anyone would like
23   to address before I do that.
24             MR. LITVAK:   No, Your Honor, not from the debtors'
25   perspective.    This is Max Litvak, Pachulski Stang Ziehl &




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 1   Jones, on behalf of the debtor.      We have nothing further to
 2   report.
 3             THE COURT:   Okay.    Mr. Barsalona?    I think you might
 4   be muted.    I'm sorry, Mr. Barsalona.    So I can't hear you.    I
 5   don't know if anyone else can.
 6             MR. BARSALONA:     Good afternoon, Your Honor.
 7             THE COURT:   Oh.
 8             MR. BARSALONA:     Can you hear me now?
 9             THE COURT:   Now I can.    Thank you.   Yes.
10             MR. BARSALONA:     I'm dialed in through the phone
11   because I'm having connection issues, so apologies for that.

12   There was a double muting on my end.      Nothing further from TOPS
13   and OTS, Your Honor.
14             THE COURT:   Okay.    All right.   So I'm going to report
15   on where I am, both as a result of my reflection on the record,
16   the case law, and it is informed, I will acknowledge, by the
17   conversation I had with Judge Currault.

18             I'll take the two issues, sort of, one at a time.
19   First is the motion to approve the settlement.       That's governed
20   by the Martin factors coming out of the Third Circuit decision
21   In re Martin, 91 F.3d 389 (3d Cir. 1996).        Those factors are:
22   the probability of success in the litigation; the difficulties
23   in collection; the complexity, expense, inconvenience and delay
24   of the litigation; and the paramount interest of creditors.
25             Applying that standard, and in light of the record




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 1   before me, as I said yesterday, I'm satisfied that those
 2   standards are met.    The only meaningful issue with respect the
 3   traditional application of the Martin standards is that the
 4   settlement involves the payment of the reefing fee of 700,000
 5   dollars.    Otherwise, it reflects collection in full of the
 6   amounts due.   It will generate a net receivable of 4.9 million
 7   dollars.
 8              No one has objected, in particular, to the payment of
 9   the 700,000 dollars as the reefing fee, under the
10   circumstances.    And in any event, I'm satisfied that it's
11   appropriate, sort of, by analogy to the doctrine of critical

12   vendor, or one could call it the doctrine of necessity, or
13   however one wants to think about the notion that sometimes in
14   bankruptcy we pay pre-petition creditors prior to confirmation
15   of a plan in order to maximize value.    Sometimes we permit
16   that, and I'm satisfied that, applying those standards, that
17   payment is appropriate.

18              I've considered the various arguments.   I'm aware that
19   there are not signature pages before me.   I am satisfied, based
20   on the record that is before me, that what we've got here is
21   parties that are prepared to go forward with a transaction
22   subject to clearing some number of hurdles.   I don't believe
23   any of those hurdles renders this advisory or conjectural or
24   speculative or what have you.    I think we've got a transaction
25   that is sufficiently real, that it's properly put before the




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 1   Court for approval, and I think it meets that approval.
 2            Now, the one further complication is the possibility
 3   that consummating the transaction, even just bringing the money
 4   in and putting it in escrow, might be construed to run afoul of
 5   the injunction entered by Judge Currault.   I'm not in any
 6   position to give folks legal advice, but it does seem to me
 7   that that issue might be addressed by the filing of a motion to
 8   modify the injunction in front of Judge Currault.
 9            I think that what we have here is just a technical
10   matter of cleanup, and I think that issue can be addressed that
11   way.   If the parties want to proceed immediately, without

12   getting that relief, that's up to you.   But you also might
13   consider filing a motion in front of Judge Currault.
14   Essentially, once we have an order that I enter, it might be
15   appropriate to file a motion in front of Judge Currault simply
16   to say that -- or asking that she modify her injunction to
17   comport with this order, and to the extent there's an issue

18   that needs to be cleaned up that way, that's a means by which
19   you might consider cleaning it up.
20            I want to be -- there's one other issue that Mr.
21   Barsalona raised with a form of order, which is, at least as I
22   understood his point, it was concern about whether the money
23   was really held in something that is actually in escrow.     And
24   so I just want to be clear about one thing.   I'm hopeful the
25   parties can work this out, though I'm prepared to resolve a




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 1   dispute if I need to.
 2           Deciding that this transaction can go forward is
 3   entirely without prejudice to who wins the dispute over who
 4   owns the money.   And if TOPS prevails in that dispute, the 4.9
 5   million dollars has got to go to TOPS.   And what we have to do
 6   is set this up in a way in which folks are procedurally
 7   satisfied that that will work.
 8           With the superb counsel we have, I don't have any
 9   doubt that counsel will be able to do that, but I want to make
10   sure that the intent is clear.    And if there are issues on how
11   it's done, let me know, and I'm happy to address it.

12           So far, are there questions about what I've said to
13   date?
14           MR. LITVAK:     Your Honor, the only question I would
15   have -- Max Litvak on behalf of the debtor -- is that I presume
16   that this money -- it's actually 5.6 million -- would
17   actually -- what I'm hearing is that the Court would approve

18   the settlement, and the money would actually come into the
19   escrow, go to the escrow agent.    I'm happy to talk to Mr.
20   Barsalona offline if there is some particular concern.    But
21   then 700,000 of it would be distributed by the escrow agent to
22   pay the TPW reefing fee, and then the remaining 4.9 million,
23   once it comes in, would remain in escrow.    And certainly the
24   debtor has no intention of distributing a penny of it until we
25   get further order from the Court.




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 1              THE COURT:    Right.    That's exactly what I intend.   And
 2   that the 4.9 will sit there pending resolution of the merits of
 3   the ownership dispute.     And the only point I was intending to
 4   address is Mr. Barsalona, if I understood him correctly, raised
 5   concerns about the manner in which the order provided that that
 6   money would be held and whether it was really in escrow or
 7   whether it was secure.     And however you work it out is fine
 8   with me.    But it should be held in a manner that gives
 9   reasonable comfort that it will be secure pending resolution of
10   the ownership dispute.
11              MR. LITVAK:   Understood.    Thank you, Your Honor.

12              THE COURT:    Okay.    That then brings me to the motion
13   for relief from stay, which is really the question of who
14   should decide the ownership question.
15              The leading case there is probably Judge Balick's
16   decision In re Rexene Products Co., which is at 141 B.R. 574
17   (Bankr. D. Del. 1992).

18              The standard involves the articulation of the
19   following three factors:      whether there's any great prejudice
20   to either the bankruptcy estate or the debtor that would result
21   from continuation of the civil litigation in another forum;
22   whether the hardship to the nonbankruptcy party, by maintenance
23   of the stay, considerably outweighs the hardship to the debtor
24   of leaving the stay in place; and whether the creditor has a
25   probability of prevailing on the merits.




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 1           That articulation of the standards emerges primarily
 2   in the context of where there is a pre-petition claim that's
 3   been asserted against the estate, where someone wants to
 4   continue pursuit of that claim in another forum, though I think
 5   the basic principles remain applicable.
 6           The cases also talk about things, and I think these
 7   all do tie to one or another of the factors, in some form or
 8   fashion, things like, okay, how far along is this case in the
 9   other forum?   How do principles of judicial economy weigh in
10   the balance?   To what extent has another court invested
11   substantial resources in coming up to speed and in

12   understanding the matter?   To what extent should principles of
13   comity or deference counsel in favor of deferring to another
14   court's resolution of a matter, and the like.
15           In view of the record in front of me, and I will
16   acknowledge, in part, coming out of the conversation I had with
17   Judge Currault, I've concluded to deny the motion for relief

18   from stay.   I believe that the consideration of all of the
19   factors I identified above counsel in favor of having the
20   question of ownership of these funds resolved in an appropriate
21   proceeding here.
22           I have a few thoughts on that that I'd like to convey.
23   I said earlier, and I, as a general matter, mean it, that the
24   question of whether something should be an adversary or a
25   contested matter is not something that I usually get terribly




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 1   worked up over.   It is true that Rule 7001 says what it says.
 2            I do believe that, under these circumstances, where
 3   there is a pending piece of civil litigation in another court
 4   that would have ended in a judgment, if it were permitted to
 5   proceed, it makes sense here to have a piece of civil
 6   litigation that will end in a judgment to resolve any ambiguity
 7   about the effect of whatever ruling is reached here.    So I
 8   think that proceeding by way of adversary is more appropriate
 9   than just filing a motion.
10            In terms of who the parties are, or what have you, I
11   leave that, obviously, to the parties.   I do appreciate that

12   there clearly are parties who can participate here, in some
13   form or fashion, who wouldn't have been parties in Louisiana,
14   like the lenders who have an interest -- an arguable interest
15   in the funds.
16            In terms of -- well, in the first instance, I propose
17   the parties talk about who they would like to be the plaintiff

18   and who should be the defendant.   It doesn't really matter.    I
19   think this is about declaratory relief about ownership of the
20   funds.   And so I don't think it matters a great deal who sues
21   whom.
22            I appreciate there's also the dispute that is now in
23   Louisiana, and could very well remain in Louisiana, about suits
24   against nondebtors.   I leave to all of you the question of
25   whether there would or wouldn't be jurisdiction over those




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 1   matters here.   Again, that's for the parties to puzzle through.
 2   I'm not here to tell you how to assert your litigation.    If the
 3   judgment is that none of the parties wants to assert such a
 4   claim here, it could obviously all be heard later.   If the
 5   parties choose to proceed in a way so that it's all done at
 6   once, that's fine, and if not, then not.
 7           I am hugely sensitive to the concerns about the cost.
 8   That's true, frankly, on behalf of both parties.   I heard
 9   evidence yesterday both that this is a, as I think Mr. Litvak
10   put it, a thin case, and there was evidence in support of that.
11   And I heard testimony from the principal of TOPS regarding the

12   cost of litigating here.
13           I want to do what I can do to drive this as
14   efficiently as possible.   So consistent with procedural
15   fairness to folks, it's been my experience that the longer the
16   schedule you set the more work that the lawyers do in the time
17   available.   So I would propose that -- I'm going to let you

18   work out a schedule yourselves, in the first instance, and only
19   intervene if there's a dispute.   But my guidance is relatively
20   faster, because I believe things that are faster are cheaper.
21   I don't intend to be inhumane, but I think quicker is better
22   than slower.
23           I don't know whether you need to do discovery or
24   whether the discovery previously done, both on this motion and
25   in Louisiana, is sufficient.   Certainly, I would encourage you




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 1   strongly to endeavor to avoid duplication.      Whatever has been
 2   done already doesn't need to be done again.     I'm happy for you
 3   to propose whatever kind of schedule you want.     And I also
 4   think you should have a conversation about whether you believe
 5   that teeing this up for a resolution by summary judgment is
 6   either more efficient or less efficient, or cheaper or more
 7   expensive, than just getting briefs in and trying the case.       I
 8   don't know the answer to that question; I don't intend to put a
 9   thumb on the scale.      But whatever you decide would be efficient
10   is fine with me.
11              So I think those are the observations that I have.     So

12   for those reasons, I will deny the motion to stay, and an
13   appropriate order should be settled that so provides that.       You
14   can do it -- it is the same piece of paper as -- well, you can
15   do it however makes sense.     Maybe we've got two motions, so we
16   should have two separate orders.      But I'd encourage you to talk
17   to each other and see if you can settle an order -- settle both

18   of those orders reflecting these points.
19              So that's what I've got.   I'm happy to address any
20   questions that any party-in-interest may have.
21              MR. LITVAK:   Your Honor, thank you very much for those
22   rulings.    They're really much appreciated, and especially so
23   quickly after the substantive hearing yesterday.
24              And Your Honor, it's Max Litvak on behalf of the
25   debtor, just for the record.




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 1            I did want to ask, did the Court have any comments to
 2   the form of order that we submitted on the settlement
 3   agreement?
 4            THE COURT:    So I guess, Mr. Litvak, I did not, other
 5   than that I heard Mr. Barsalona's concern, if I understood it,
 6   about whether that order needed to provide something further
 7   regarding the manner in which the funds would be held in the
 8   meantime.    So I encourage you to talk about that.   I may have
 9   entirely misunderstood.    But if there's some reasonable ask
10   that would provide comfort to TOPS that the money is in fact
11   going to be available to it, if and when it were to prevail in

12   the adversary, I'd ask that you give consideration to working
13   with him on that.
14            MR. LITVAK:    We will, Your Honor.   Thank you.
15            THE COURT:    Okay.   Anyone else have anything that I
16   should consider?    I otherwise trust that the parties could talk
17   and seek to settle orders as appropriate?

18            MR. LITVAK:    Absolutely.   Absolutely, Your Honor.
19   Thank you.    Thank you very much for your time.
20            THE COURT:    Okay.   Well, thanks again to all of you.
21   Again, my apologies for the scheduling confusion, and I hope
22   folks are able to work through these issues.     If not, please
23   don't hesitate to reach out to chambers.    If you need me to get
24   on a call to resolve something, I'm happy to do what my job is
25   to do.   So with that, thank you very much.    And we're




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 1   adjourned.
 2           MR. LITVAK:   Thank you, Your Honor.
 3           MR. BARSALONA:   Thank you, Your Honor.
 4        (Whereupon these proceedings were concluded at 2:19 PM)
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 3                               RULINGS
 4                                             Page    Line
 5   Motion to approve the settlement is         11
 6   granted, as set forth on the record.
 7   Motion for relief from stay is denied.      17
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 1
 2                       C E R T I F I C A T I O N
 3
 4   I, Sharona Shapiro, certify that the foregoing transcript is a
 5   true and accurate record of the proceedings.
 6
 7
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